Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 1 of 201




            EXHIBIT F
             Part 3 of 4
               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 2 of 201
                                    Electronic Acknowledgement Receipt

                       EFSID:                      27375526


                 Application Number:               14059192


          International Application Number:

                Confirmation Number:               1044




                  Title of Invention:              Matching Process System And Method




         First Named Inventor/Applicant Name:      Sean Rad


                  Customer Number:                 5073


                         Filer:                    Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:              Roshan Suresh Mansinghani


              Attorney Docket Number:              076533.0146


                    Receipt Date:                  31-0CT-2016


                     Filing Date:                  21-0CT-2013


                     Time Stamp:                   17:43:46


                  Application Type:                Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
                                                 I no
File Listing:
 Document                                                                              File Size(Bytes}/                   Multi         Pages
                     Document Description                 File Name
  Number                                                                               Message Digest                     Part /.zip   (if appl.)

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               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 3 of 201
                                                 Multipart Description/PDF files in .zip description

                                       Document Description                                                 Start                              End


                       Amendment/Req. Reconsideration-After Non-Final Reject                                    1                               1



                                                 Claims                                                         2                              10



                        Applicant Arguments/Remarks Made in an Amendment                                       11                              77


Warnings:
Information:

                                                                                                            79834

               Affidavit-traversing rejectns or objectns
     2                                                     0765330146Decl32103116.PDf                                                     no         2
                                rule 132
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Warnings:
Information:
                                                             Total Files Size (in bytes)                                        8642109


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New AQQlications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
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If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
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New International AQQlication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
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                              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 4 of 201
                                                                                                                                                                                 PTO/SB/06 (09-11)
                                                                                                                                                Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                             U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                                           Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number.

    PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number                Filing Date
                                       Substitute for Form PT0-875                                                      14/059, 192                     10/21/2013             D To be Mailed

                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

  D BASIC FEE                                             N/A                                    N/A                                     N/A
          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                    N/A                                     N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                    N/A                                     N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
  0APPLICATION SIZE FEE
                                               for small entity) for each additional 50 sheets or
    (37 CFR 1.16(s))
                                               fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                               CFR 1.16(s).
  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)               (Column 3)

                                   CLAIMS                           HIGHEST
                                   REMAINING                        NUMBER
f--
           10/31/2016              AFTER                            PREVIOUSLY
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
z                                  AMENDMENT                        PAID FOR
w         Total (37 CFR
:;:;;:     1.16(j))
                                   * 9                  Minus       ** 21                =   0                                  x $80 =                                        0
0          Independent
z         (37 CFR 1 .16(h))        * 3                  Minus       ***3                 =   0                                  x $420 =                                       0
w
:;:;;:
<(
           D Application Size Fee (37 CFR 1.16(s))
           D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE                               0
                                       (Column 1)                        (Column 2)               (Column 3)

                                     CLAIMS                          HIGHEST
                                    REMAINING                        NUMBER
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
                                      AFTER                         PREVIOUSLY
                                   AMENDMENT                         PAID FOR
  f--
 z        Total (37 CFR
                                   *                    Minus       **                   =                                      x $            =
 w         1.16(i))
 :;:;;:    Independent
                                                        Minus
 0        (37 CFR 1 .16(h))        *                                ***                  =                                      x $           =

 z         D Application Size Fee (37 CFR 1.16(s))
 w
 :;:;;:
 <(        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE

  * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                         LIE
  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                MYRTLE LEIGH
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
  The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
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ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                            If you need assistance in completing the form, ca/11-800-PT0-9199 and select option 2.
              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 5 of 201




                                                                             Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                             United States Patent and Trademark Office
                                                                             Adm"'· COMMISSIO'JER FOR PATENTS
                                                                                   PO Box 1450
                                                                                   Alexandria, Virgmia 22313-1450
                                                                                   \VVi\V.USpto.gov


  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                         TOT CLAIMS IND CLAIMS
  14/059,192     10/21/2013      2153          1820                   076533.0146            21      3
                                                                                   CONFIRMATION N0.1044
5073                                                                         CORRECTED FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111m~mmmmHni~~11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                      Date Mailed: 10/13/2016




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
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any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
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lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Melissa, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
Applicant( s)
                   TINDER INC., West Hollywood, CA;
Power of Attorney: The patent practitioners associated with Customer Number 05073
Domestic Priority data as claimed by applicant
                  This appln claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access Application via Priority Document Exchange: Yes

Permission to Access Search Results: No

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.


                                                       page 1of3
            Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 6 of 201




If Required, Foreign Filing License Granted: 11/04/2013

The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 14/059,192

Projected Publication Date: Not Applicable

Non-Publication Request: No

Early Publication Request: No
Title
             Matching Process System And Method
Preliminary Class
             707
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: Yes

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Applicants also are advised that in the case of inventions made in the United States, the Director of the US PTO must
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guidance as to the status of applicant's license for foreign filing.


Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
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call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).

                                                       page 2 of 3
            Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 7 of 201




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                          Title 37, Code of Federal Regulations, 5.11 & 5.15
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                                                       page 3 of 3
         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 8 of 201

ATTORNEY DOCKET NUNIBER                                                 PATENT APPLICATION
076533.0146                                                                       14/059,192
                                                   1

                    IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


First Named Inventor:                   Sean Rad
Serial No.:                             14/059,192
Filing Date:                           October 21, 2013
Confirmation No.:                       1044
Title:                                 Matching Process System And Method

Office of Initial Patent Examination's Customer Service Center
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Dear Sir:
                    REQUEST FOR CORRECTED OFFICIAL FILING RECEIPT

          Attached is a copy of the Filing Receipt received from the U.S. Patent and Trademark
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          The Applicant name is incorrect. Please delete "TINDER! INC." and insert --TINDER,
INC.--. A copy of the Filing Receipt is attached for your reference. A corrected filing receipt is
respectfully requested.
          While it is believed that no fees are due, the Commissioner is hereby authorized to charge
any amount required by this paper or credit any overpayment to Deposit Account No. 02-0384 of
Baker Botts L.L.P.

                                               BAKER BOTTS L.L.P.




                                               Chad C. Walters
                                               Reg. No. 48,022

Date: October 7, 2016
Customer No.: 05073




Active 29207378.1
         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 9 of 201




                                                                             Ul\TTF.D STATES DF.PA RTMF."IT OF COM~fF.RCF.
                                                                             United States Putent and Trademark Office
                                                                             Address: COMMISSIO:.'-JER FOR PATENTS
                                                                                    PO_ Box L450
                                                                                    Alexandria, Virgm.ia 22313-1450
                                                                                    www.m:pto.gov

  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            A TTY.DOCKET.NO                          TOT CLAIMS IND CLAIMS
  14/059,192     10/21/2013      2164          1820                   076533.0146             21      3
                                                                                    CONFIRMATION NO. 1044
5073                                                                          CORRECTED FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111111~mmmm~~~~u~~m 11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980

                                                                                                     Date Mailed: 09/16/2016




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Applicant(s)
                 ·-'f'fNDERI ING"'West Hollywood, CA;       .J...l!'Df R~!:::
Power of Attorney: The patent practitioners associated with Customer Number 05073
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                  This a pp In claims benefit of 61 /793,866 03/15/2013
                  and is a GIP of 12/339,301 12/19/2008 PAT 8566327
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Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
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                                                       page 1of3
         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 10 of 201




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is US 14/059, 192

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Early Publication Request: No
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             Matching Process System And Method
Preliminary Class
             707
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                                                       page 2 of 3
        Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 11 of 201




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                                                       page 3 of 3
              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 12 of 201
                                      Electronic Acknowledgement Receipt

                         EFSID:                          27158375


                 Application Number:                     14059192


          International Application Number:

                Confirmation Number:                     1044




                  Title of Invention:                    Matching Process System And Method




         First Named Inventor/Applicant Name:            Sean Rad


                  Customer Number:                       5073


                          Filer:                         Bradley P Williams/Elody Tignor


                 Filer Authorized By:                    Bradley P Williams


              Attorney Docket Number:                    076533.0146


                     Receipt Date:                       07-0CT-2016


                      Filing Date:                       21-0CT-2013


                     Time Stamp:                         16:48:19


                  Application Type:                      Utility under 35 USC 111 (a)


Payment information:
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File Listing:
 Document                                                                                   File Size(Bytes}/                 Multi         Pages
                     Document Description                       File Name
  Number                                                                                    Message Digest                   Part /.zip   (if appl.)

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     1           Request for Corrected Filing Receipt     0146RCFRFiled.pdf                                                     no            4
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Warnings:
               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 13 of 201
Information:
                                                     Total Files Size (in bytes)~                  285108


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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
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National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 14 of 201




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                                                                                              Alexandria, Virgmia 22313-1450
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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                     ATTY. DOCKET NO./TITLE

        14/059,192                   10/21/2013                             Sean Rad              076533.0146
                                                                                             CONFIRMATION N0.1044
5073                                                                                 POA ACCEPTANCE LETTER
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                     111111111111111111111111]~!l]~~1~~1~~HHHUJl 11111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                                 Date Mailed: 09/16/2016




                         NOTICE OF ACCEPTANCE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 09/08/2016.
The Power of Attorney in this application is accepted. Correspondence in this application will be mailed to the
above address as provided by 37 CFR 1.33.




                                  Questions about the contents of this notice and the
                               requirements it sets forth should be directed to the Office
                                 of Data Management, Application Assistance Unit, at
                                (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                /rmohamed/




                                                           page 1of1
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 15 of 201




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  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                          TOT CLAIMS IND CLAIMS
  14/059,192     10/21/2013      2164          1820                   076533.0146            21      3
                                                                                   CONFIRMATION N0.1044
5073                                                                         CORRECTED FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111 m~mmmmHHH~~~111111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                       Date Mailed: 09/16/2016




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please
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to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Melissa, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
Applicant( s)
                   TINDERI INC., West Hollywood, CA;
Power of Attorney: The patent practitioners associated with Customer Number 05073
Domestic Priority data as claimed by applicant
                  This appln claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access Application via Priority Document Exchange: Yes

Permission to Access Search Results: No

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.


                                                       page 1of3
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 16 of 201




If Required, Foreign Filing License Granted: 11/04/2013

The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 14/059,192

Projected Publication Date: Not Applicable

Non-Publication Request: No

Early Publication Request: No
Title
             Matching Process System And Method
Preliminary Class
             707
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
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of patent applications on the same invention in member countries, but does not result in a grant of "an international
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Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
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in various respects from the patent law of the United States, applicants are advised to seek guidance from specific
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Applicants also are advised that in the case of inventions made in the United States, the Director of the US PTO must
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Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199, or it
can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.


For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
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call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).

                                                       page 2 of 3
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 17 of 201




                                 LICENSE FOR FOREIGN FILING UNDER
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                          Title 37, Code of Federal Regulations, 5.11 & 5.15
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The applicant has been granted a license under 35 U.S.C. 184, if the phrase "IF REQUIRED, FOREIGN FILING
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                                                       page 3 of 3
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 18 of 201



                                                                                                                                                  PTOIA/N80 (07-12)
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                      ER OF ATTORNEY TO PROSECUTE APPLICATIONS BEFORE THE USPTO

   I hereby revoke all previous powers of attorney given in the application identified in the attached statement
   .1:!D9.~r.:.~T.gf.R 3.73(cL                                           .....·-··---·                                              --------·----------<!
   I hereby appoint:

     ~         Practitioners associated with Customer Number:
                                                                                         73
               OR
     D         Practitioner(s) named below (if more than ten patent practitioners are to be named, then a customer number must be used):

                                   Name                              Registration                                 Name                                Registration
                                                                       Number                                                                          Number




   As attorney(s) or agent(s) to represent the undersigned before the United States Patent and Trademark Office (USPTO) in connection with
   any and all patent applications assigned QD)y to the undersigned according to the USPTO assignment records or assignments documents
  attached to this form in accordance with 37 CFR 3.73(c).

   Please change the correspondence address for the application identified in the attached statement under 37 CFR 3.73(c) to:




  OR
    [!]       The address associated with Customer Number:                '6~~~~~~~~~~~~
                                                                             5Q73

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  Assignee Name and Address: TINDER, INC.
                                       8833 W. Sunset Blvd.
                                       West Hollywood, CA 90069

  A copy of this form, together with a statement under 37 CFR 3. 73(c) (Form PTO/AIA/96 or equivalent) is required to be
   'led in each appllcatlon in which this form is used. The statement under 37 CFR 3.73(c) may be completed by one of
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                                                SIGNATURE of Assignee of Record
                The individual whose signature and title is supplied below is authorized to act on behalf of the assignee

  Signature                                                                                              Date                              Zoti.o
  Name

 Title
This collection of information is required by 37 CFR 1.31, 1.32 and 1.33. The information is required to obtain or retain a benefit by the public which is to file (and
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FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandr/a, VA 22313·1450.

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              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 19 of 201
                                    Electronic Acknowledgement Receipt

                       EFSID:                     26872420


                 Application Number:              14059192


          International Application Number:

                Confirmation Number:              1044




                  Title of Invention:             Matching Process System And Method




         First Named Inventor/Applicant Name:     Sean Rad


                  Customer Number:                5073


                         Filer:                   Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:             Roshan Suresh Mansinghani


              Attorney Docket Number:             076533.0146


                    Receipt Date:                 08-SEP-2016


                     Filing Date:                 21-0CT-2013


                     Time Stamp:                  17:18:43


                  Application Type:               Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
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File Listing:
 Document                                                                             File Size(Bytes}/                        Multi         Pages
                     Document Description                File Name
  Number                                                                              Message Digest                          Part /.zip   (if appl.)

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                Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 20 of 201
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                                         Document Description                                            Start                             End


                              Assignee showing of ownership per 37 CFR 3.73                                 1                               3



                                             Power of Attorney                                              4                               4


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National Stage of an International AQQlication under 35 U.S.C. 371
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New International AQQlication Filed with the USPTO as a Receiving Office
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 21 of 201
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                                                                                                                  Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                076533.0146
 Application Data Sheet 37 CFR 1. 76
                                                                       Application Number                    14/059,192
 Title of Invention         Matching Process System And Method

 The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
 bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1. 76.
 This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
 document may be printed and included in a paper filed application.


Secrecy Order 37 CFR 5.2
 D Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
        37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

Inventor Information:
                                                                                                                               I· Remove · 1
 Inventor  1
 Legal Name

 Prefix     Given Name                                           Middle Name                                 Family Name                                               Suffix

            Sean                                                                                             Rad
  Residence Information (Select One)                     @ US Residency              O Non US Residency O Active US Military Service
 City       Los Angeles                               I State/Province I CA                  I Country of Residencd I US
Mailing Address of Inventor:

 Address 1                            ~ 8~88 \AAlelilire lillvij,       2341 Weybridge Lane

 Address 2                            I IRit 14Qi
 City           I Los Angeles                                                            I State/Province               I CA
 Postal Code                         ~ ~                                         I Country i             I us
 Inventor  2                                                                                                                  I Remove I
 Legal Name

 Prefix    Given Name                                            Middle Name                                 Family Name                                               Suffix

           Todd                                                  M.                                          Carrico
 Residence Information (Select One)                     @ US Residency               O Non US Residency 0                     Active US Military Service
 City       e881il88   Melissa                        I State/Province I TX I Country of Residencd I us
Mailing Address of Inventor:

 Address 1                            1 HF a' IRfiiie l.iilR'i        2 Shadywood Lane

 Address 2
 City           I aiilol<•'i .Melissa .•                                                 I State/Province               I TX
 Postal Code                          76948 ~                                   I Country i             I US
Inventor  3                                                                                                                   I .f3ef11ove I
Legal Name

 Prefix    Given Name                                            Middle Name                                 Family Name                                               Suffix
           Kenneth                                               B.                                          Hoskins
 Residence Information (Select One)                     @ us Residency               0     Non US Residency             0    Active US Military Service
                          Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 22 of 201
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                                                                               Attorney Docket Number                  076533.0146
  Application Data Sheet 37 CFR 1.76
                                                                               Application Number                      14/059,192
                                    I

  Title of Invention               I Matching Process System And Method
  City         I Plano                                          I State/Province I TX I Country of ResidencJ I us
Mailing Address of Inventor:
  Address 1                                     2817 Chancellor Drive
  Address 2
  City                    I Plano                                                              I State/Province                   I TX
  Postal Code                                    75074                                     I Country i I us
 Inventor 4                                                                                                                             I Remove I
 Legal Name

  Prefix Given Name                                                      Middle Name                                   Family Name                                              Suffix
                  James                                                  C.                                            Stone
   Residence Information (Select One) @ US Residency                                            0      Non US Residency           Q Active US Military Service
  City            Addison                                       j State/Province            J   TX      I Country of ResidencJ j US
Mailing Address of Inventor:
  Address 1                                     15826 Breedlove
  Address 2
  City                    I Addison                                                                  I State/Province             I TX
  Postal Code                                    75001                                     I Country i             I us
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                                         I Add I
Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).
 O An Address is being provided for the correspondence Information of this application.
 Customer Number                                 05073
 Email Address                                   PTOmail1@bakerbotts.com
                                                                                                                               I I Add Email I               jRemove Email/

Application Information:
 Title of the Invention                          Matching Process System And Method
 Attorney Docket Number 076533.0146                                                                  I Small Entity Status Claimed D
 Application· Type                               Non provision aI
 Subject Matter                                  Utility
 Total Number of Drawing Sheets (if any)                                  I 11                        I Suggested Figure for Publication (if any) I
Filing By Reference :
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               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 23 of 201
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                                                                    Attorney Docket Number                  076533.0146
  Application Data Sheet 37 CFR 1. 76
                                                                    Application Number                      14/059 192
  Title of Invention       Matching Process System And Method


Only complete this section when filing an application by reference under 35 U.S.C. 111 (c) and 37 CFR 1.57(a). Do not complete this section if
application papers including a specification and any drawings are being filed. Any domestic benefit or foreign priority information must be
provided in the appropriate section(s) below (i.e., "Domestic Benefit/National Stage Information" and "Foreign Priority Information").

For the purposes of a filing date under 37 CFR 1.53(b), the description and any drawings of the present application are replaced by this
reference to the previously filed application, subject to conditions and requirements of 37 CFR 1.57(a).
                                                                                                                                                                               i-
  Application number of the previously                 Filing date (YYYY-MM-DD)                                     Intellectual Property Authority or Country
  filed application




  Publication Information:
 D     Request Early Publication (Fee required at time of Request 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under
       35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
 D     subject of an application filed in another country, or under a multilateral international agreement, that requires
       publication at eighteen months after filing.




Representative Information:
 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.




 Please Select One:                @     Customer Number              I 0 US Patent Practitioner 10 Limited Recognition (37 CFR 11.9)
 Customer Number                   05073




Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate National Stage
entry from a PCT application. Providing this information in the application data sheet constitutes the specific reference required
by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the application number blank.

     Prior Application Status                                                                                                         I Remove I
      Application Number                         Continuity Type                      Prior Application Number                 Filing Date (YYYY-MM-DD)
                                      Claims benefit of erovisional                 61/793866                                2013-03-15

     Prior Application Status                                                                                                         I Remove I
     Application Number                          Continuity Type                      Prior Application Number                 Filing Date (YYYY-MM-DD)
                                      Continuation in part of                       12/339301                                2008-12-19
 Additional Domestic Benefit/National Stage Data may be generated within this form
 by selecting the Add button.
                                   Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 24 of 201
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                                                                                       Attorney Docket Number                  076533.0146
  Application Data Sheet 37 CFR 1. 76
                                                                                       Application Number                      14/059,192

  Title of Invention                          Matching Process System And Method



Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1.5.5(d). When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (PDX) 1 the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(h)(1) and (2). Under the POX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1).

                                                                                                                                                         I R13'incive I
            Application Number                                         Countryi                   Filing Date (YYYY-MM-DD)                          Access Codei (if applicable)


  Additional Foreign Priority Data may be generated within this form by selecting the
  Add button.




Statement under 37 CFR 1.55 or 1. 78 for AIA (First Inventor to File) Transition
Applications

      This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
      contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
 ~ 16, 2013 .
....._NOTE: By providing this statement under 37 CFR 1. 55 or 1. 78, this application, with a filing date on or after March
      16, 2013, will be examined under the first inventor to file provisions of the AIA.




Authorization to Permit Access:
~         Authorization to Permit Access to the Instant Application by the Participating Offices




c:cc \J\l ..... h   ') ') ....
                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 25 of 201
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                       Attorney Docket Number                  076533.0146
 Application Data Sheet 37 CFR 1.76
                                                                      Application Number                       14/059~192

 Title of Invention           Matching Process System And Method


If checked, the undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),
the Japan Patent Office (JPO), the Korean Intellectual Property Office (KIPO), the World Intellectual Property Office (WIPO),
and any other intellectual property offices in which a foreign application claiming priority to the instant patent application
is filed access to the instant patent application. See 37 CFR 1.14(c) and (h). This box should not be checked if the applicant
does not wish the EPO, JPO, KIPO, WIPO, or other intellectual property office in which a foreign application claiming priority
to the instant patent application is filed to have access to the instant patent application.

In accordance with 37 CFR 1.14(h)(3), access will be provided to a copy of the instant patent application with respect
to: 1) the instant patent application-as-filed; 2) any foreign application to which the instant patent application
claims priority under 35 U.S.C. 119(a)-(d) if a copy of the foreign application that satisfies the certified copy requirement of
37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-filed from which benefit is
sought in the instant patent application.

In accordance with 37 CFR 1.14(c), access may be provided to information concerning the date of filing this Authorization.




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.

 Applicant         1
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                      Clear
                                                                                                                                          I             I
......
 @ Assignee
                                                 lo      Legal Representative under 35 U.S.C. 117                           [o      Joint Inventor

O Person to whom the inventor is obligated to assign.                                    Jo       Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:


                                                                                                                              I
Name of the Deceased or Legally Incapacitated Inventor                          :I
 If the Applicant is an Organization check here.                          ~
 Organization Name
                                I TINDERI INC.
 Mailing Address Information For Applicant:
 Address 1                                8833 W. Sunset Blvd.

 Address 2

 City                                     West Holl~wood                                  State/Province
                                                                                                                         -
                                                                                                                         CA

 Country'
 Phone Number
              I~
                                      I
                                                                                          Postal Code

                                                                                          Fax Number
                                                                                                                        -90069




EFS Web 2.2.11
                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 26 of 201
                                                                                                                                                          PTO/AIA/14 (12-13)
                                                                                                                     Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Papeiwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                         Attorney Docket Number                076533.0146
 Application Data Sheet 37 CFR 1. 76
                                                                         Application Number                     14Los9 1 192
 Title of Invention           Matching Process System And Method


 Email Address
                                       I
Additional Applicant Data may be generated within this form by selecting the Add button.




Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not subsitute for compliance with any requirement of part 3 of Title 37 of CFR to
have an assignment recorded by the Office.


  Assignee          1
Complete this section if assignee information, including non-applicant assignee information, is desired to be included on the patent
application publication . An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the
patent application publication.


 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                                   D
 Prefix                              Given Name                           Middle Name                      Family Name                       Suffix



Mailing Address Information For Assignee including Non-Applicant Assignee:

 Address 1
 Address 2
 City                                                                                      State/Province
                                      I
 Countryi           I                                                                      Postal Code

 Phone Number                                                                              Fax Number

 Email Address

Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
selecting the Add button.


Signature:
 NOTE: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4 for signature requirements and
 certifications.

                    ~ ?t.___
 Signature                                     1
                                                                                                               Date (YYYY-MM-DD)                :Ll)/t.o ... () 9--01
 First Name             Roshan S.
                                                   I Last Name       J   Mansinghani                           Registration Number               62429

 Additional Signature may be generated within this form by selecting the Add button.




EFS Web 2.2.11
                           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 27 of 201
                                                                                                                                                                 r-1v1n1r..11"1 \t~-1.J}

                                                                                                                              Approved for use through 01/31/2014. OMB 0651-0032
                                                                                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                          Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                                Attorney Docket Number                  076533.0146
  Application Data Sheet 37 CFR 1.76
                                                                                Application Number                      141'.'.059~192

  Title of Invention                   Matching Process System And Method




  This collection of information is required by 37 CFR 1. 76. The information is required to obtain or retain a benefit by the public which
  is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This
  collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
  sheet form to the US PTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to
  complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
  Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR
  COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.




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                Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 28 of 201




                                                          Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the attached form related to
a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised that: (1) the general authority for the collection
of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is
used by the U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not
furnish the requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

     1.        The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552)
          and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice to determine
          whether the Freedom of Information Act requires disclosure of these records.

2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a court, magistrate, or
     administrative tribunal, including disclosures to opposing counsel in the course of settlement negotiations.

     3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an
          individual, to whom the record pertains, when the individual has requested assistance from the Member with respect to the subject matter of
          the record.

     4.        A record In this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in
          order to perform a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as
          amended, pursuant to 5 U.S.C. 552a(m).

     5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed,
          as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant to the Patent C o o p eration Treaty.

     6.        A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security
          review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.         A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or his/her designee,
          during an inspection of records conducted by GSA as part of that agency's responsibility to recommend improvements in records
          management practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the
          GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
          disclosure shall not be used to make determinations about individuals.

     8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuanl
          to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
          CFR 1.14, as a routine use, to the public if the record was filed in an application which became abandoned or in which the proceedings were
          terminated and which application is referenced by either a published application, an application open to public inspections or an issued
          patent.

     9.      A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law enforcement agency, if the
          USPTO becomes aware of a violation or potential violation of law or regulation.
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                                                                                                                                                   PTO/AIA/96 (08-12)
                                                                                                              Approved for use through 01/31/2013. OMB 0651-0031
                                                                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
           Under the Pa erwork Reduction Act of 1995, no ersons are re uired to res ond to a collection of information unless it dis la s a valid OMB control number.

                                                        STATEMENT UNDER 37 CFR 3.73(c)
  ApplicanVPatent Owner: TINDER, INC.                                                                      076533.0146
  Application No./Patent No.: 14/059,192                                                     Filed/Issue Date: _2_1_0_c_t_o_be_r_2_0_1_3_ _ _ _ _ __
 Titled:     MATCHING PROCESS SYSTEM AND METHOD
  TINDER, INC.                                                        ,a_c_o_rp_o_ra_t_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  (Name of Assignee)                                                      (Type of Assignee, e.g., corporation, partnership, university, government agency, etc.)

  states that, for the patent application/patent identified above, it is (choose .Q.!!g of options 1, 2, 3 or 4 below):

  1. 0 The assignee of the entire right, title, and interest.
  2. D An assignee of less than the entire right, title, and interest (check applicable box):
      LJ The extent (by percentage) of its ownership interest is                    %. Additional Statement(s) by the owners
            holding the balance of the interest must be submitted to account for 1 00% of the ownership interest.
           D There are unspecified percentages of ownership. The other parties, including inventors, who together own the entire
            right, title and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.
 3.    DThe assignee of an undivided interest in the entirety (a complete assignment from one of the joint inventors was made).
 The other parties, including inventors, who together own the entire right, title, and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.

 4.    DThe recipient, via a court proceeding or the like (e.g., bankruptcy, probate), of an undivided interest in the entirety (a
 complete transfer of ownership interest was made). The certified document(s) showing the transfer is attached.

 The interest identified in option 1, 2 or 3 above (not option 4) is evidenced by either (choose .Q.!!g of options A or B below):

 A.    D An assignment from the inventor(s) of the patent application/patent identified above. The assignment was recorded in
            the United States Patent and Trademark Office at Reel                                        , Frame                        , or for which a copy
            thereof is attached.

 B.    0 A chain of title from the inventor(s), of the patent application/patent identified above, to the current assignee as follows:
             1 . From: Inventor Sean Rad                                                        To: Tinder, Inc.
                                                                                                      ~~~~~~~~~~~~~~~~~~~




                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 033826                , Frame 0842                    , or for which a copy thereof is attached.

             2. From: Inventors Todd M. Carrico and Kenneth B. Hoskins To: Match.com L.L.C.           -~~~~~~~~~~~~~~~~~~




                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 038542                , Frame 0688                   , or for which a copy thereof is attached.

                                                                             [Page 1 of 2]
This collection of information is required by 37 CFR 3.73(b). The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 12 minutes to complete, including
gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount
of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark
Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND
TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.

                            lf you need assistance in completing the form, call 1-800-PT0-9199 and select option 2.
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                                                                                                                                              PTO/AIA/96 (08·12)
                                                                                                         Approved for use through 01/31/2013. OMB 0651-0031
                                                                                     U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
      Under the Pa erwork Reduction Act of 1995, no ersons are re uired to res ond to a collection of information unless it dis la s a valid OMB control number.

                                                 STATEMENT UNDER 37 CFR 3.73(c)

3. From: Inventor, James C. Stone                                            To: Match.com L.L.C.
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 038681               , Frame 0097                 , or for which a copy thereof is attached.
4. From: Match.com, L.L.C.                                                   To: Tinder, Inc.
                                                                                  ~------------------


                     The document was recorded in the United States Patent and Trademark Office at
                     Reel 038542               , Frame 0958                 , or for which a copy thereof is attached.

5.From: ~------------------To:~----------------~
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel _ _ _ _ _ , Frame ______ , or for which a copy thereof is attached.

6.From: -------------------To:~----------------~
                     The document was recorded in the United States Patent and Trademark Office at
                     Reel ______ , Frame ______ , or for which a copy thereof is attached.

      D     Additional documents in the chain of title are listed on a supplemental sheet(s).


[!]       As required by 37 CFR 3.73(c)(1 )(i), the documentary evidence of the chain of title from the original owner to the
          assignee was, or concurrently is being, submitted for recordation pursuant to 37 CFR 3.11.
          [NOTE: A separate copy (i.e., a true copy of the original assignment document(s)) must be submitted to Assignment
          Division in accordance with 37 CFR Part 3, to record the assignment in the records of the USPTO. See MPEP 302.08]



The undersigned (whose title is supplied below) is authorized to act on behalf of the assignee.


Signature                                                                                                       Date
Roshan S. Mansinghani                                                                                           62,429
Printed or Typed Name                                                                                           Title or Registration Number
                                                                 [Page 2 of 2]
         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 31 of 201


                                             Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is 35
U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the
information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission related
to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and Trademark
Office may not be able to process and/or examine your submission, which may result in termination of proceedings
or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the Freedom of
          Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
          may be disclosed to the Department of Justice to determine whether disclosure of these records is
          required by the Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of presenting
         evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the
         course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress
         submitting a request involving an individual, to whom the record pertains, when the individual has
         requested assistance from the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
         having need for the information in order to perform a contract. Recipients of information shall be required
         to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system of
         records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
         Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for
         purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act
         (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, General
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
         responsibility to recommend improvements in records management practices and programs, under
         authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA
         regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or
         Commerce) directive. Such disclosure shall not be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after either
         publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C.
         151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the
         public if the record was filed in an application which became abandoned or in which the proceedings were
         terminated and which application is referenced by either a published application, an application open to
         public inspection or an issued patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the US PTO becomes aware of a violation or potential violation of law or regulation.
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                    UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                              UNITED STATES DEPARTMENT OF COMMERCE
                                                                              United States Patent and Trademark Office
                                                                              Address: COMMISSIONER FOR PATENTS
                                                                                    P.O. Box 1450
                                                                                    Alexandria, Virginia 22313-1450
                                                                                    www .uspto.gov




   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             08/29/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   08/29/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 33 of 201
                                                                                    Application No.                               Applicant(s)
                                                                                    14/059, 192                                   RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2164
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 712912016.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)~ This action is FINAL.                 2b)0 This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ;the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 23.25.26.30.32.33.37.39 and 40 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 23. 25. 26. 30. 32. 33. 37. 39 and 40 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http:ilwww.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2)   0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)                        4)   0 Other: _ _.
         Paper No(s)/Mail Date _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20160818
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                                       DETAILED ACTION

                                    Response to Amendment

1.     This office action is in response to applicant's communication filed on 07/29/2016 in

response to PTO Office Action mailed on 06/17/2016. The Applicant's remarks and

amendments to the claims and/or the specification were considered with the results as follows.

2.     In response to the last Office Action, claims 23, 30, and 37 have been amended. Claims

24, 27-29, 31, 34-36, 38 and 41-43 have been canceled. As a result, claims 23, 25, 26, 30, 32,

33, 37, 39 and 40 are pending in this office action.




                                     Response to Arguments


3.      Applicant's arguments with respect to claims 23, 25, 26, 30, 32, 33, 37, 39 and 40 have

been fully considered but are moot in view of new ground(s) of rejection.

       Applicant's argument states as "The cited portion of Janssens do not disclose

determining to enabling initial communication between the first user and the second user in

response to determining that both the first user has expressed the positive preference indication

regarding the second user and the second user has expressed the positive preference

indication regarding the first user" as recited in claims 23, 30 and 37.

       In response to Applicant's argument, the Examiner disagrees because the Janssens

discloses a bidirectional interaction or communication is created or enabled when two users

indicate a "like" for the other. Both users can enable communication such as adding each other

on their contact lists and/or they can sent a notification message, sound, graphic or the like (See

para. [0053], para. [0064] and para. [0065] and para. [0094]).    For instance, if user A "likes"

user B, user B likes user A back, a link is created. User A and user B can communicate with
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each other by adding each other to the contact list and the system would send a message to

both users saying "you both link" (See para. [0094] and para. [0095]). User A and user B can

start their first or initial bidirectional interaction or communication after both of them received a

message "you both link". However, in this office action, the Examiner wants to advance

prosecution and incorporate a newly cited reference Benschop to teach enable initial

communication when both first and second user have expressed their interests or approvals.

Therefore, it is the combination of the cited references Janssens in view of Benschop teaches

the argued feature.

                                     Claim Rejections - 35 USC§ 103



        The following is a quotation of 35 U .S.C. 103 which forms the basis for all obviousness

rejections set forth in this Office action:

        A patent for a claimed invention may not be obtained, notwithstanding that the claimed
        invention is not identically disclosed as set forth in section 102 of this title, if the differences
        between the claimed invention and the prior art are such that the claimed invention as a whole
        would have been obvious before the effective filing date of the claimed invention to a person
        having ordinary skill in the art to which the claimed invention pertains. Patentability shall not
        be negated by the manner in which the invention was made.


4.      Claims 23, 25, 26, 30, 32, 33, 35, 37, 39 and 40 are rejected under 35 U.S.C. 103 as

being unpatentable by Janssens (US 2014/0040368A1) and in view of Benschop et al. (US

2008/0196094A1 ).



        Referring to claims 23, 30 and 37, Janssens discloses a computer implemented

method of profile matching (See para. [0005], a matching system identifies a plurality of

matching users from a plurality users based at least in part on the received profile

information) , comprising:
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       electronically receiving a first request for matching, the first request electronically

submitted by a first user using a first electronic device (See Figure 9, para. [0041] and para.

[0112] and para. [0113], receiving a request for a new card from a user device, a request

for a profile card);

        determining a set of potential matches for the first user in response to receiving the first

 request (See para. [0115] and Figure 9, item 906, identifying a set of available cards by

 the system as potentially interesting to the viewing user);

        causing the display of a graphical representation of a first potential match of the set of

 potential matches to the first user on a graphical user interface of the first electronic device, the

 first potential match corresponding to a second user (See para. [0115]-para. [0117] and

 Figure 9, selecting and displaying a card from the set of available cards that is

 estimated or determined to be the highest rank or greater interest to the user);

       determining that the first user expressed a positive preference indication regarding the

 first potential match at least by determining that the first user performed a first swiping gesture

 associated with the graphical representation to the first potential match on the graphical user

 interface (See Figure 5, para. [0005], para. [0052], para. [0053], para. [0064] and para.

 [0095], the system receives "like" expression from the first user or the A user on the

 card-feed pane, also See para. [0047] and para. [0068] and Figure 4, swiping across the

 interface using a finger on the card, user can swipe on the "like "feature, and the

system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card);

       in response to determining that the first user expressed the positive preference

 indication regarding the first potential match, automatically causing the graphical user interface

 to display a graphical representation of a second potential match of the set of potential
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 matches instead of the graphical representation of the first potential match (See para. [0047]

and para. [0118], the user of the card-feed may cycle through various cards or other

potential matches beside the first potential match, the system records different forms of

 user interactions such as clicking, mouse dragging, hovering, swiping, gesturing and so

 on are used to indicate whether a new potential match or previously viewed potential

 match is to be displayed to the user, the feed of potential matches is automatically

 cycled periodically and the system uses information such as user settings and past

 interactions between users, e.g., the interactions such as a user liked another user

and/or gave a gift to another user to determine and select which card to show next from

a set of cards or potential matches, the user may go forward in the feed by selecting the

 forward control and the process may select the next card to display to the user in the

 card-feed, also when another user likes the user's profile card, the user may go forward

 in the feed by selecting the forward control, and the system automatically selects the

 card of the person that liked that user as the next card to display to the user in the card

 feed);

          determining that the second user has expressed a positive preference indication

 regarding the first user after determining that the first user expressed the positive preference

 indication regarding the first potential match (See para. [0053], para. [0064], para. [0065] and

para. [0094] and para. [0095], a bidirectional interaction or communication is created or

 enabled when two users indicate a "like" for the other, both users can enable

 communication such as adding each other on their contact lists and/or they can sent a

notification message, sound, graphic or the like , for instance, if user A "likes" user B,

 user B likes user A back, a link is created, user A and user B can communicate with
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 each other by adding each other to the contact list and the system would send a

 message to both users saying "you both link'?;

       determining to enable [ ... ] communication between the first user and the second user in

 response to determining that both the first user has expressed the positive preference

 indication regarding the second user and the second user has expressed the positive

preference indication regarding the first user (See para. [0053], para. [0064], para. [0065] and

para. [0094] and para. [0095], a bidirectional interaction or communication is created or

 enabled when two users indicate a "like" for the other, both users can enable

 communication such as adding each other on their contact lists and/or they can sent a

notification message, sound, graphic or the like , for instance, if user A "likes" user B,

 user B likes user A back, a link is created, user A and user B can communicate with

 each other by adding each other to the contact list and the system would send a

 message to both users saying "you both link'');

       in response to determining to enable [ ... ] communication between the first user and the

second user, causing the graphical user interface to display to the first user the graphical

 representation of the first potential match (See Figure 3, para. [0045] and para. [0056], if

 user A "likes" user Band user B "likes" user A back, a link is created, and the system

adds user A to the contact list of user B and user B to the contact list of user A, user A

 enables communication with user B by clicking the chat button once the system has

 successfully placed user B on the contract list of user A after user A has indicated a

positive indication such as the liked indication, clicking the chat button opens the chat

pane is a text area enable the user to chat other users);

       determining that the first user expressed a negative preference indication regarding that

the third potential match at least by determining that the first user performed a second swiping
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gesture associated with the graphical representation of the third potential match on the user

 interface, the second swiping gesture different than the first swiping gesture (See para.

[0052], the system also provides a control via which the user can indicate a disinterest

 in another user which is different than the "like" gesture).

       prevent communication between the first user and the third after determining that the

first user has expressed the negative preference indication regarding the third user ( See para.

[0052], preventing communication between the first user and the other user, e.g. if user

 B is a third potential match, user B is automatically be placed in ignored state and or

any future communication because the first user dislikes the profile card for user B);

       determining that the first user expressed a positive preference indication regarding fourth

potential match of the set of potential matches at least by determine that the first user

performed the first swiping gesture associated with a graphical representation of a fourth

potential match on the graphical user interface, the fourth potential match corresponding to a

fourth user (See para. [0047] and para. [0118], the user of the card-feed may cycle

 through various cards or other potential matches beside the first potential match, the

 system records different forms of user interactions such as clicking, mouse dragging,

 hovering, swiping, gesturing and so on are used to indicate whether a new potential

 match or previously viewed potential match is to be displayed to the user, the feed of

potential matches is automatically cycled periodically and the system uses information

 such as user settings and past interactions between users, e.g., the interactions such as

a user liked another user and/or gave a gift to another user to determine and select

 which card to show next from a set of cards or potential matches, the user may go

 forward in the feed by selecting the forward control and the process may select the next

 card to display to the user in the card-feed, also when another user likes the user's
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profile card, the user may go forward in the feed by selecting the forward control, and

 the system automatically selects the card of the person that liked that user as the next

 card to display to the user in the card feed, also see Figure 5, para. [0005], para. [0047],

para. [0052], para. [0053], para. [0064], para. [0068] and para. [0095], the system receives

 "like" expression from the first user or the A user on the card-feed pane, swiping across

 the interface using a finger on the card, user can swipe on the "like "feature, and the

 system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card); and

       preventing communication between the first user and the fourth user after determining

that the fourth user has expressed a negative preference indication regarding the first user (

 See para. [0052], preventing communication between the fourth user and the first user,

 e.g. if the first user is a first potential match, the first user is automatically be placed in

 ignored state and or any future communication because the fourth user dislikes the

profile card for the first user).

       In additional to Janssens, Benschop explicitly disclose determining to enable initial

communication between the first user and the second user in response to determining that

both users have expressed interests or approvals (See Benschop, para. [0060], the approval

 module allows to establish or exchange a communication between a sender, e.g. the

 user of the first user device I, and an addressee ,e.g. the user of the second user device

 /IA only if both the sender and the addressee have signaled approval for the

 communication).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the enabling communication module of Janssens's system to

 include an approval module, as taught by Benschop, in order to filter out unwanted messages
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 from users who do not have mutual approval of establishing a communication (See Benschop,

 para. [0060] and abstract).




       As to claims 25, 32 and 39, Janssens discloses further comprising:


       in response to determining that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user, causing the display of a graphical

notification, on the graphical user interface of the first electronic device, that a match

exists between the first user and the second user, the graphical notification comprising a

user interface control enabling a text area to be presented to the first user (See Figure 3, text

area 312, para. [0045] and para. [0056], if user A "likes" user Band user B "likes" user A

back, a link is created, and the system adds user A to the contact list of user B and user

B to the contact list of user A, user A enables communication with user B by clicking the

chat button once the system has successfully placed user B on the contract list of user A

after user A has indicated a positive indication such as the liked indication, clicking the

chat button opens the chat pane is a text area enable the user to chat other users).


       As to claims 26, 33 and 40, Janssens discloses the set of potential matches for the first

user comprises one or more potential matches that are each associated with a geographic

location within a threshold distance of a geographic location associated with the first user, the

threshold distance being a stored value (See para. [0055] and para. [0130], user can set

preferences on the types of cards they want to receive, e.g. a user can specify limits on
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geographic range such as 10 miles from his/ her house, 20 miles from his/her work

address and etc.).




                                                Conclusion



5.      Applicant's amendment necessitated the new ground(s) of rejection presented in this

Office action. THIS ACTION IS MADE FINAL. Applicant is reminded of the extension of time

policy as set forth in 37 CFR 1.136(a).

        A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within TWO

MONTHS of the mailing date of this final action and the advisory action is not mailed until after

the end of the THREE-MONTH shortened statutory period, then the shortened statutory period

will expire on the date the advisory action is mailed, and any extension fee pursuant to 37

CFR 1.136(a) will be calculated from the mailing date of the advisory action. In no event,

however, will the statutory period for reply expire later than SIX MONTHS from the date of this

final action.




6.      The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.
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                                     Contact Information

       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to YUK TING CHOI whose telephone number is (571 )270-1637. The

examiner can normally be reached on 9:30 AM - 6:00 PM EST.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the Patent

Application Information Retrieval (PAIR) system. Status information for published applications

may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

applications is available through Private PAIR only. For more information about the PAIR

system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private

PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you

would like assistance from a USPTO Customer Service Representative or access to the

automated information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.

/YUK TING CHOI/

Primary Examiner, Art Unit 2164
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
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                 Notice of References Cited
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                                                                                      YUK TING CHOI                       2164
                                                                          U.S. PATENT DOCUMENTS
                        Document Number                    Date
*                 Country Code-Number-Kind Code          MM-YYYY                               Name                   CPC Classification       US Classification

*        A      US-2008/0196094 A 1                     08-2008           Benschop; Dirk Leonard                         G06Q20/10                  726/5

         B      US-

         c      US-

         D      US-

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                             Part of Paper No. 20160818
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                                                  Application/Control No.              Applicant(s)/Patent Under
                                                                                       Reexamination
          Index of Claims                         14059192                             RAD ET AL.

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                                                  YUK TING CHOI                        2164


              Rejected                        Cancelled                 N   Non-Elected             A           Appeal

  -           Allowed                         Restricted                    Interference            0         Objected

 D    Claims renumbered in the same order as presented by applicant                D   CPA        D T.D.        D    R.1.47

          CLAIM                                                             DATE
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                                                  YUK TING CHOI                        2164


              Rejected                        Cancelled                 N   Non-Elected             A           Appeal

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 D    Claims renumbered in the same order as presented by applicant                D   CPA        D T.D.        D     R.1.47

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EASTSearchHistory.14059192_AccessibleVersion.htm[8/18/2016 12:01:09 PM]
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                             Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 48 of 201
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                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 49 of 201

                                        Application/Control No.                    Applicant(s)/Patent Under
                                                                                   Reexamination
           Search Notes                 14059192                                   RAD ET AL.

                                        Examiner                                   Art Unit

                                        YUK TING CHOI                              2164




                                                  CPC-SEARCHED

                         Symbol                                                I         Date        I        Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386                                   I      8/18/2016      I          YC

                                   CPC COMBINATION SETS - SEARCHED

                                     Symbol                                    I          Date       I        Examiner
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                                       US CLASSIFICATION SEARCHED

      Class           I                    Subclass                            I          Date      I     Examiner
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                                                  SEARCH NOTES

                                   Search Notes                                           Date                Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386 and east text                            8/18/2016          YC
 search, see attached search history
 East text search, see attached search history                                        8/18/2016          YC


                                          INTERFERENCE SEARCH

   US Class/                        US Subclass I CPC Group                               Date            Examiner
  CPC Symbol




                                                           /YUK TING CHOI/
                                                           Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                  Part of Paper No. : 20160818
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 50 of 201




                                                                                        Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                                        United States Patent and Trademark Office
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                                                                                                PO Box 1450
                                                                                                Alexandria, Virgmia 22313-1450
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    APPLICATION NUMBER            FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        14/059,192                    10/21/2013                             Sean Rad                        076533.0146
                                                                                                        CONFIRMATION N0.1044
5073                                                                                                  IMPROPER CPOA LETTER
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                      111111111111111111111111]~!l]~~1~~1~~H~~Hi~11111111111111111111111111
SUITE 600
DALLAS, TX 75201-2980                                                                                          Date Mailed: 08/09/2016




                             NOTICE REGARDING POWER OF ATTORNEY
This is in response to the power of attorney filed 07/27/2016. The power of attorney in this application is not
accepted for the reason(s) listed below:
  •The power of attorney has not been accepted because the party who is giving power has not been identified.
   Power of attorney may only be signed by the applicant for patent (37 CFR 1.42) or the patent owner. A party
   who is not the applicant must become the applicant in accordance with 37 CFR 1.46(c) and appoint any power
   of attorney in compliance with 37 CFR 3.71 and 3.73. For a reissue application, reexamination proceeding,
   or supplemental examination proceeding, a patent owner who was not the applicant under 37 CFR 1.46 must
   appoint any power of attorney in compliance with 37 CFR 3.71 and 3.73. See 37 CFR 1.32(b)(4).




                /ngfissha/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                            page 1of1
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 51 of 201




                                                                                       Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                                       United States Patent and Trademark Office
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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        14/059,192                   10/21/2013                             Sean Rad               076533.0146
                                                                                             CONFIRMATION N0.1044
5073                                                                                 IMPROPER CFR REQUEST
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2001 ROSS AVENUE                                                                     111111111111111111111111]~!l]~~1~~1~~H~~H1~11111111111111111111111111
SUITE 600
DALLAS, TX 75201-2980
                                                                                                                  Date Mai led: 08/09/2016




                 RESPONSE TO REQUEST FOR CORRECTED FILING RECEIPT
                  Power of Attorney, Claims, Fees, System Limitations, and Miscellaneous
In response to your request for a corrected Filing Receipt, the Office is unable to comply with your request
because:
  •Any request to correct or update the name of the applicant must include an application data sheet (ADS)
   in compliance with 37 CFR 1.76 specifying the correct or updated name of the applicant in the applicant
   information section. Any request to change the applicant after an original applicant has been specified under
   37 CFR 1.46(b) must include a new ADS in compliance with 37 CFR 1.76 specifying the applicant in the
   applicant information section and comply with 37 CFR 3.71 and 3.73. See 37 CFR 1.46(c).

                                  Questions about the contents of this notice and the
                               requirements it sets forth should be directed to the Office
                                 of Data Management, Application Assistance Unit, at
                                (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                /ngfissha/




                                                           page 1of1
                Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 52 of 201
                    UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                              UNITED STATES DEPARTMENT OF COMMERCE
                                                                              United States Patent and Trademark Office
                                                                              Address: COMMISSIONER FOR PATENTS
                                                                                    P.O. Box 1450
                                                                                    Alexandria, Virginia 22313-1450
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             08/03/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   08/03/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                     Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 53 of 201
                                                                                       Application No.                          Applicant(s)

                                                                                       14/059, 192                              RAD ET AL.
        Applicant-Initiated Interview Summary
                                                                                       Examiner                                 Art Unit

                                                                                       YUK TING CHOI                            2164


 All participants (applicant, applicant's representative, PTO personnel):

(1) YUK TING CHOI.                                                                        (3) _ _ .

(2) ROSHAN S. MANSHINGHANI.                                                               (4) _ _ .

    Date of Interview: 27 Julv2016.

     Type:            ~ Telephonic    0 Video Conference
                      0 Personal [copy given to: 0 applicant                      ~ applicant's representative]

 Exhibit shown or demonstration conducted:                       0 Yes            ~No.
     If Yes, brief description: _ _ .


Issues Discussed               01 01   0112 ~1 02 01 03 OOthers
(For each of the checked box( es) above, please describe below the issue and detailed description of the discussion)


Claim(s) discussed: 23.

 Identification of prior art discussed: JANSSENS.

Substance of Interview
(For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc ... )


 Applicant brieflv explained the kev differences betweent the Janssens reference and the current claimed invention.
Applicant discussed the current claimed invention requires both users like each other before thev start a communication
but the cited reference Janssens can initiate a communication before both users "liked" each other. The Examiner
explained the Jassens referemce has manv different wavs to initiate a communication between the users, and Applicant
has to clarifv the enabling feature, e.g. clairfving on what kind of communication, and the claim has to exclude all other
communications between the users when both users have not liked each other. No agreement has been reached.




Applicant recordation instructions: The formal written reply to the last Office action must include the substance of the interview. (See MPEP
section 713.04). If a reply to the last Office action has already been filed, applicant is given a non·extendable period of the longer of one month or
thirty days from this interview date, or the mailing date of this interview summary form, whichever is later, to file a statement of the substance of the
interview

Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.


0 Attachment
/YUK TING CHOI/
Primary Examiner, Art Unit 2164



U.S. Patent and Trademark Office
PTOL-413 (Rev. 8/11/2010)                                                Interview Summary                                                    Paper No. 20160727
                    Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 54 of 201
                                                      Summary of Record of Interview Requirements
Manual of Patent Examining Procedure (MPEP), Section 713.04, Substance of Interview Must be Made of Record
A complete written statement as to the substance of any face-to-face, video conference, or telephone interview with regard to an application must be made of record in the
application whether or not an agreement with the examiner was reached at the interview.

                                                      Title 37 Code of Federal Regulations (CFR) § 1.133 Interviews
                                                                                 Paragraph (b)

In every instance where reconsideration is requested in view of an interview with an examiner, a complete written statement of the reasons presented at the interview as
warranting favorable action must be filed by the applicant. An interview does not remove the necessity for reply to Office action as specified in§§ 1.111, 1.135. (35 U.S.C. 132)


                                                              37 CFR §1.2 Business to be transacted in writing.
All business with the Patent or Trademark Office should be transacted in writing. The personal attendance of applicants or their attorneys or agents at the Patent and
Trademark Office is unnecessary. The action of the Patent and Trademark Office will be based exclusively on the written record in the Office. No attention will be paid to
any alleged oral promise, stipulation, or understanding in relation to which there is disagreement or doubt.



         The action of the Patent and Trademark Office cannot be based exclusively on the written record in the Office if that record is itself
incomplete through the failure to record the substance of interviews.
         It is the responsibility of the applicant or the attorney or agent to make the substance of an interview of record in the application file, unless
the examiner indicates he or she will do so. It is the examiner's responsibility to see that such a record is made and to correct material inaccuracies
which bear directly on the question of patentability.

          Examiners must complete an Interview Summary Form for each interview held where a matter of substance has been discussed during the
interview by checking the appropriate boxes and filling in the blanks. Discussions regarding only procedural matters, directed solely to restriction
requirements for which interview recordation is otherwise provided for in Section 812.01 of the Manual of Patent Examining Procedure, or pointing
out typographical errors or unreadable script in Office actions or the like, are excluded from the interview recordation procedures below. Where the
substance of an interview is completely recorded in an Examiners Amendment, no separate Interview Summary Record is required.

           The Interview Summary Form shall be given an appropriate Paper No., placed in the right hand portion of the file, and listed on the
"Contents" section of the file wrapper. In a personal interview, a duplicate of the Form is given to the applicant (or attorney or agent) at the
conclusion of the interview. In the case of a telephone or video-conference interview, the copy is mailed to the applicant's correspondence address
either with or prior to the next official communication. If additional correspondence from the examiner is not likely before an allowance or if other
circumstances dictate, the Form should be mailed promptly after the interview rather than with the next official communication.

            The Form provides for recordation of the following information:
            -Application Number (Series Code and Serial Number)
            - Name of applicant
            - Name of examiner
            - Date of interview
            - Type of interview (telephonic, video-conference, or personal)
            -Name of participant(s) (applicant, attorney or agent, examiner, other PTO personnel, etc.)
            -An indication whether or not an exhibit was shown or a demonstration conducted
            -An identification of the specific prior art discussed
                An indication whether an agreement was reached and if so, a description of the general nature of the agreement (may be by
                attachment of a copy of amendments or claims agreed as being allowable). Note: Agreement as to allowability is tentative and does
                not restrict further action by the examiner to the contrary.
            - The signature of the examiner who conducted the interview (if Form is not an attachment to a signed Office action)

            It is desirable that the examiner orally remind the applicant of his or her obligation to record the substance of the interview of each case. It
should be noted, however, that the Interview Summary Form will not normally be considered a complete and proper recordation of the interview
unless it includes, or is supplemented by the applicant or the examiner to include, all of the applicable items required below concerning the
substance of the interview.
           A complete and proper recordation of the substance of any interview should include at least the following applicable items:
            1) A brief description of the nature of any exhibit shown or any demonstration conducted,
           2) an identification of the claims discussed,
           3) an identification of the specific prior art discussed,
           4) an identification of the principal proposed amendments of a substantive nature discussed, unless these are already described on the
                Interview Summary Form completed by the Examiner,
           5) a brief identification of the general thrust of the principal arguments presented to the examiner,
                      (The identification of arguments need not be lengthy or elaborate. A verbatim or highly detailed description of the arguments is not
                      required. The identification of the arguments is sufficient if the general nature or thrust of the principal arguments made to the
                      examiner can be understood in the context of the application file. Of course, the applicant may desire to emphasize and fully
                      describe those arguments which he or she feels were or might be persuasive to the examiner.)
           6) a general indication of any other pertinent matters discussed, and
           7) if appropriate, the general results or outcome of the interview unless already described in the Interview Summary Form completed by
                the examiner.
            Examiners are expected to carefully review the applicant's record of the substance of an interview. If the record is not complete and
accurate, the examiner will give the applicant an extendable one month time period to correct the record.

                                                                    Examiner to Check for Accuracy

          If the claims are allowable for other reasons of record, the examiner should send a letter setting forth the examiner's version of the
statement attributed to him or her. If the record is complete and accurate, the examiner should place the indication, "Interview Record OK" on the
paper recording the substance of the interview along with the date and the examiner's initials.
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ATTORNEY DOCKET NO.:                                               PATENT APPLICATION
076533.0146                                                                  14/059,192

                                                  1


             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:           Sean Rad et al.
Serial No.:                     14/059,192
Filing Date:                    October 21, 2013
Group Art Unit:                 2164
Examiner:                       Yuk Ting Choi
Confirmation No.:               1044
Title:                          MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450



                            Response Pursuant to 37 C.F.R. § 1.111


           In response to the Office Action dated June 17, 2016 ("Office Action"), Applicant
respectfully requests the Examiner to reconsider the rejections of the claims in view of the
following amendments and remarks.




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076533.0146                                                                        14/059,192

                                                   2


In the Claims:

           1.-22. (Canceled)


           23.    (Currently Amended) A computer implemented method of profile matching,
compnsmg:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable initial communication between the first user and the second
user in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to determining to enable initial communication between the first user and
the second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;




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ATTORNEY DOCKET NO.:                                                   PATENT APPLICATION
076533.0146                                                                      14/059,192

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           determining that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           preventing communication between the first user and the third user after determining
that the first user has expressed the negative preference indication regarding the third user;
           determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           24.    (Canceled)


           25.    (Previously Presented) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


           26.    (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.    (Canceled)



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           28.   (Canceled)


           29.   (Canceled)




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ATTORNEY DOCKET NO.:                                                     PATENT APPLICATION
076533.0146                                                                        14/059,192

                                                    5


           30.    (Currently     Amended)       A   non-transitory    computer-readable     medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first
user and the second user, cause the graphical user interface to display to the first user the
graphical representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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ATTORNEY DOCKET NO.:                                                   PA TENT APPLICATION
076533.0146                                                                       14/059, 192

                                                 6


potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after dete1mining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           31.    (Canceled)


           32.    (Previously Presented) The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling a text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.




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           34.   (Canceled)


           35.   (Canceled)


           36.   (Canceled)




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           37.    (Currently Amended) A system for profile matching, comprising:
           an interface operable to:
                  electronically receive a first request for matching, the first request
electronically submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
                  determine a set of potential matches for the first user in response to receiving
the first request;
                  cause the interface to display a graphical representation of a first potential
match of the set of potential matches to the first user on a graphical user interface of the first
electronic device, the first potential match corresponding to a second user;
                  determine that the interface has received a positive preference indication from
the first user regarding the first potential match at least by determining that the first user
performed a first swiping gesture associated with the graphical representation of the first
potential match on the graphical user interface;
                  automatically cause the interface to remove the presentation of the first
potential match from the graphical user interface in response to detecting the gesture and
cause the interface to present, on the graphical user interface, a second potential match of the
set of potential matches to the first user;
                  determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
                  determine to enable initial communication between the first user and the
second user in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user;
                  in response to the determination to enable initial communication between the
first user and the second user, cause the graphical user interface to display to the first user the
graphical representation of the first potential match;
                  determine that the first user expressed a negative preference indication
regarding a third potential match of the set of potential matches at least by determining that
the first user performed a second swiping gesture associated with a graphical representation



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of the third potential match on the graphical user interface, the second swiping gesture
different than the first swiping gesture, the third potential match corresponding to a third
user;
                 prevent communication between the first user and the third user after
determining that the first user has expressed the negative preference indication regarding the
third user;
                 determine that the first user expressed a positive preference indication
regarding a fourth potential match of the set of potential matches at least by determining that
the first user performed the first swiping gesture associated with a graphical representation of
the fourth potential match on the graphical user interface, the fourth potential match
corresponding to a fourth user; and
                 prevent communication between the first user and the fourth user after
determining that the fourth user has expressed a negative preference indication regarding the
first user.


           38.   (Canceled)


           39.   (Previously Presented) The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


           40.   (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.

           41.   (Canceled)




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           42.   (Canceled)


           43.   (Canceled)




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                                            REMARKS
           This Application has been carefully reviewed in light of the Office Action. Claims
23, 25, 26, 30, 32, 33, 37, 39, and 40 are pending and stand rejected.         Applicant amends
Claims 23, 30, and 37. Applicant respectfully requests reconsideration and allowance of all
pending claims.


Interview Summary
           Applicant thanks the Examiner for the telephonic interview held on July 27, 2016
with Applicant's attorney Roshan S. Mansinghani (Reg. No. 62,429). During the interview,
the Section 102 rejection was discussed. The Examiner agreed that the present amendments
would overcome the rejection.


35 U.S.C. § 102 Rejections
           The Examiner rejects Claims 23, 25, 26, 30, 32, 33, 35, 37, 39, and 40 under pre-AIA
35 U.S.C. § 102(e) as allegedly being anticipated by U.S. Patent Publication No.
2014/0040368 Al by Janssens ("Janssens"). Applicant respectfully traverses these rejections
because the present claims, as amended, are allowable. As the Examiner admitted during the
interview, the cited portions of Janssens do not disclose the following limitations:
              •   determining to enable initial communication between the first user and the
                  second user in response to determining that both the first user has expressed
                  the positive preference indication regarding the second user and the second
                  user has expressed the positive preference indication regarding the first user
                  (Claim 23);
              •   determine to enable initial communication between the first user and the
                  second user in response to the determination that both the first user has
                  expressed the positive preference indication regarding the second user and the
                  second user has expressed the positive preference indication regarding the first
                  user (Claim 30); and
              •   determine to enable initial communication between the first user and the
                  second user in response to the determination that both the first user has
                  expressed the positive preference indication regarding the second user and the



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               second user has expressed the positive preference indication regarding the first
               user (Claim 37).
For at least these reasons, Claims 23, 30, and 37, as well as each of their respective dependent
claims are in condition for allowance. Favorable action is requested.




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                                          CONCLUSION

           Applicants have made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicants respectfully
request reconsideration and full allowance of all pending claims.
           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicants, at the Examiner's convenience at (214) 953-6737.
           Although Applicants believe no other fees are due, the Commissioner is authorized to
charge any necessary additional fees and credit any overpayments to Deposit Account No.
02-03 84 of BAKER BOTTS L.L.P.


                                                Respectfully submitted,

                                                BAKER BOTTS L.L.P.
                                                Attorneys for Applicants


                                                 /---~'
                                                Roshan S. Mansinghani
                                                Reg. No. 62,429
                                                (214) 953-6737

Date:

Correspondence Address:
Customer No:            05073




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              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 68 of 201
                                    Electronic Acknowledgement Receipt

                       EFSID:                     26490832


                 Application Number:               14059192


          International Application Number:

                Confirmation Number:               1044




                  Title of Invention:             Matching Process System And Method




         First Named Inventor/Applicant Name:     Sean Rad


                  Customer Number:                5073


                         Filer:                   Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:             Roshan Suresh Mansinghani


              Attorney Docket Number:             076533.0146


                    Receipt Date:                 29-JUL-2016


                     Filing Date:                 21-0CT-2013


                     Time Stamp:                   10:08:46


                  Application Type:               Utility under 35 USC 111 (a)


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 Document                                                                            File Size(Bytes}/                  Multi         Pages
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                                            Multipart Description/PDF files in .zip description

                                    Document Description                                 Start                End


                      Amendment/Req. Reconsideration-After Non-Final Reject                1                    1



                                             Claims                                        2                    10



                       Applicant Arguments/Remarks Made in an Amendment                   11                   13


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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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                      Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 70 of 201
                                                                                                                                                                              PTO/SB/06 (09-11)
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      14/059, 192                     10/21 /2013            D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                     RATE($)                            FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x   $          =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x   $          =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                           TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)              (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     07/29/2016              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
z                               AMENDMENT                        PAID FOR
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z       Independent
       (37 CFR 1.16(hll         *3                   Minus       ***3                 =   0                                  x   $420 =                                     0
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        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE                               0
                                    (Column 1)                        (Column 2)              (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
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 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   PARTHENIA D. MERRILL
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   I hereby revoke all previous powers of attorney given in the application identified in the attached statement
   under 37 CFR 3.73(c).
   I hereby appoint:

     ~ Practitioners associated with Customer Number: joso13
                 OR                                                                                                            I
     D           Practitioner(s) named below (if more than ten patent practitioners are to be named, then a customer number must be used):

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                                                                      Number                                                                          Number




  As attomey(s) or agent(s) to represent the undersigned before the United Stales Patent and Trademark Office (USPTO) In connection with
  any and all patent applications assigned Q!J]y_ to the undersigned according to the USPTO assignment records or assignments documents
  attached to this form in accordance with 37 CFR 3.73(c}.

  Please change the correspondence address for the application identified In the attached statement under 37 CFR 3.73(c) to:


     [2] The address associated with Customer Number: 105073
  OR
          Firm or
                                                                                                                                 I
 I        Individual Name

          Address

          City                                                                     !state                                         Izip

          Country

          Telephone                                                                         I   Email


  Assignee Name and Address: Sean Rad
                             Tinder, Inc.
                             8899 Beverly Blvd.
                             West Hollywood, CA 90048

  A copy of this form, together with a statement under 37 CFR 3.73(c) (Form PTO/AIA/96 or equivalent) is required to be
  Flied In each appllcatlon In which this form is used. The statement under 37 CFR 3.73(c) may be completed by one of
  The practitioners appointed in this form, and must Identify the application In which this Power of Attorney is to be filed.

                                                 SIGNATURE of Assignee of Record
                 The individual whose signature a~ej,s supplied below Is authorized to act on behalf of the assignee

  Sig"'!"'°                              ~                              ~Dale                                        07/15/2016
  Name                 Sean Rad                                                                          Telephone
 Title                 Chief Executive Officer
This collectton of Information 1s required by 37 CFR 1.31, 1.32 and 1.33. The Information Is required to obtain or relaln a benefit by the public which 1s to file (and
by the US PTO to precess} an application. Confidenllallty Is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 3 minutes
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                  Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 72 of 201
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                                                        STATEMENT UNDER 37 CFR 3.73(c)
  Applicant/Patent Owner: Tinder, Inc.                                                                076533.0146

  Application No./Patent No.: _1_4_10_5_9_,1_9_2_ _ _ _ _ _ _ _ _ Filed/Issue Date: 21 October 2013
 Titled:     MATCHING PROCESS SYSTEM AND METHOD

 _T_in_d_e_r_,_ln_c_._ _ _ _ _ _ _ _ _ _ _ _ _ _ , a corporation
  (Name of Assignee)                                                      (Type of Assignee, e.g., corporation, partnership, university, government agency, etc.)

  states that, for the patent application/patent identified above, it is (choose one of options 1, 2, 3 or 4 below):

  1. 0 The assignee of the entire right, title, and interest.
  2. D An assignee of less than the entire right, title, and interest (check applicable box):
      LJ The extent (by percentage) of its ownership interest is                    %. Additional Statement(s) by the owners
            holding the balance of the interest must be submitted to account for 100% of the ownership interest.
           D There are unspecified percentages of ownership. The other parties, including inventors, who together own the entire
            right, title and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.
 3.    DThe assignee of an undivided interest in the entirety (a complete assignment from one of the joint inventors was made).
 The other parties, including inventors, who together own the entire right, title, and interest are:




               Additional Statement(s) by the owner(s) holding the balance of the interest must be submitted to account for the entire
            right, title, and interest.

 4.    DThe recipient, via a court proceeding or the like (e.g., bankruptcy, probate), of an undivided interest in the entirety (a
 complete transfer of ownership interest was made). The certified document(s) showing the transfer is attached.

 The interest identified in option 1, 2 or 3 above (not option 4) is evidenced by either (choose Qlli! of options A or B below):

 A.    D An assignment from the inventor(s) of the patent application/patent identified above. The assignment was recorded in
            the United States Patent and Trademark Office at Reel                                        , Frame                        , or for which a copy
            thereof is attached.

 B. 0       A chain of title from the inventor(s), of the patent application/patent identified above, to the current assignee as follows:

             1 . From: Inventor Sean Rad                                                        To: Tinder, Inc.
                                                                                                      --------------------
                         The document was recorded in the United States Patent and Trademark Office at
                         Reel 033826                , Frame 0842                   , or for which a copy thereof is attached.

             2 . From: Inventors Todd M. Carrico and Kenneth B. Hoskins To: Match.com L.L.C.
                                                                                                      --------------------
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                         Reel 038542                , Frame 0688                   , or for which a copy thereof is attached.

                                                                             [Page 1 of 2]
This collection of information is required by 37 CFR 3.73(b}. The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to
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            Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 73 of 201
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                                                 STATEMENT UNDER 37 CFR 3.73(c)

3. From: Inventor, James C. Stone                                            To: Match.com L.L.C.
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      D     Additional documents in the chain of title are listed on a supplemental sheet(s).



[{]       As required by 37 CFR 3.73(c)(1 )(i), the documentary evidence of the chain of title from the original owner to the
          assignee was, or concurrently is being, submitted for recordation pursuant to 37 CFR 3.11.
          [NOTE: A separate copy (i.e., a true copy of the original assignment document(s)) must be submitted to Assignment
          Division in accordance with 37 CFR Part 3, to record the assignment in the records of the USPTO. See MPEP 302.08]



The undersigned (whose title is supplied below) is authorized to act on behalf of the assignee.

   /~~                                                                                                               07/27/2016
Signature                                                                                                        Date
Roshan S. Mansinghani                                                                                            62,429
Printed or Typed Name                                                                                           Title or Registration Number
                                                                 [Page 2 of 2]
              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 74 of 201
                                    Electronic Acknowledgement Receipt

                       EFSID:                       26474860


                 Application Number:                14059192


          International Application Number:

                Confirmation Number:                1044




                  Title of Invention:               Matching Process System And Method




         First Named Inventor/Applicant Name:       Sean Rad


                  Customer Number:                  5073


                         Filer:                     Roshan Suresh Mansinghani


                 Filer Authorized By:

              Attorney Docket Number:               076533.0146


                    Receipt Date:                   27-JUL-2016


                     Filing Date:                   21-0CT-2013


                     Time Stamp:                    17:25:10


                  Application Type:                 Utility under 35 USC 111 (a)


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              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 76 of 201

  Doc code: Oath
  Document Description: Oath or declaration filed
                                                                                                                                                  PTO/AIA/02 (07-13)
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         SUBSTITUTE STATEMENT IN LIEU OF AN OATH OR DECLARATION FOR UTILITY
             OR DESIGN PATENT APPLICATION (35 U.S.C. 115(d) AND 37 CFR 1.64)

 Title of         MATCHING PROCESS SYSTEM AND METHOD
 Invention


This statement is directed to:

 D The attached application,
  OR
                                                                                                                                                 October 2013
 [j] United States application or PCT international application number 14/059, 192 filed on 21
LEGAL NAME of inventor to whom this substitute statement applies:
(E.g., Given Name (first and middle (if any)) and Family Name or Surname)

James C. Stone
Residence (except for a deceased or legally incapacitated inventor):


citvAddison                                              State
                                                                            TX                          Countrv
                                                                                                                    us
Mailing Address (except for a deceased or legally incapacitated inventor):

 15826 Breedlove


cityAddison                                                         State   TX                                Zip
                                                                                                                    75001                   Country    US
I believe the above-named inventor or joint inventor to be the original inventor or an original joint inventor of a claimed invention
    in the application.


The above-identified application was made or authorized to be made by me.


I hereby acknowledge that any willful false statement made in this statement is punishable under 18 U.S.C. 1001 by fine or
   imprisonment of not more than five (5) years, or both.


  Relationship to the inventor to whom this substitute statement applies:


       D Legal Representative (for deceased or legally incapacitated inventor only),
       [j] Assignee,
       D Person to whom the inventor is under an obligation to assign,
       D Person who otherwise shows a sufficient proprietary interest in the matter (petition under 37 CFR 1.46 is required), or
       D Joint Inventor.
                                                                             [Page 1 of 2]
This collection of information is required by 35 U.S.C. 115 and 37 CFR 1.63. The information is required to obtain or retain a benefit by the public which is to file (and
by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1. 11 and 1. 14. This collection is estimated to take 1 minute to
complete, including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any
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(                                                    SUBSTITUTE STATEMENT
                                                                                                                                                               )
  Circumstances permitting execution of this substitute statement:
       D Inventor is deceased,
       D Inventor is under legal incapacity,
       D Inventor cannot be found or reached after diligent effort, or
       Ii] Inventor has refused to execute the oath or declaration under 37 CFR 1.63.
  If there are joint inventors, please check the appropriate box below:

       liJ An application data sheet under 37 CFR 1.76 (PTO/AIA/14 or equivalent) naming the entire inventive entity has been
             or Is currently submitted.
        OR
       D An application data sheet under 37 CFR 1.76 (PTO/AIA/14 or equivalent) has not been submitted. Thus, a Substitute
             Statement Supplemental Sheet (PTO/AIA/11 or equivalent) naming the entire inventive entity and providing inventor
             information is attached. See 37 CFR 1.64(b).

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Name:   Sean Rad                                                                                                              Date (Optional):


Signature:
APPLICANT NAME AND TITL: OF PERSON EXECUTING THIS SUBSTITUTE STATEMENT:
If the applicant Is a juristic entity, list the applicant name and the title of the signer:
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Mailing Address of the signer (unless provided in an application data sheet, PTO/AIA/14 or equivalent)
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                                                                   CA                              Zip90077
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                                                                                                                                           us
Note: Use an additional PTO/AIA/02 form for each inventor who is deceased, legally incapacitated, cannot be found or reached
after diligent effort, or has refused to execute the oath or declaration under 37 CFR 1.63.
                                                                       [Page 2 of 2]
                Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 78 of 201
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             06/17/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   06/17/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

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PTOL-90A (Rev. 04/07)
                         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 79 of 201
                                                                                    Application No.                               Applicant(s)
                                                                                    14/059, 192                                   RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2164
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE .J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 512612016.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)0 This action is FINAL.                 2b)~ This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 23.25.26.30.32.33.37.39 and 40 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 23. 25. 26. 30. 32. 33. 37. 39 and 40 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PF'Hfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2)   0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)                        4)   0 Other: _ _ .
         Paper No(s)/Mail Date _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20160614
       Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 80 of 201


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                                        DETAILED ACTION

                          Continued Examination Under 37 CFR 1. 114

1.      A request for continued examination under 37 CFR 1.114, including the fee set forth in

37 CFR 1.17(e), was filed in this application after final rejection. Since this application is eligible

for continued examination under 37 CFR 1.114, and the fee set forth in 37 CFR 1.17(e) has

been timely paid, the finality of the previous Office action has been withdrawn pursuant to 37

CFR 1.114. Applicant's submission filed on 05/26/2016 has been entered.




                                     Response to Amendment

2.      This office action is in response to applicant's communication filed on 05/26/2016 in

response to PTO Office Action mailed on 03/31/2016. The Applicant's remarks and

amendments to the claims and/or the specification were considered with the results as follows.

3.       In response to the last Office Action, claims 23, 25, 30, 32, 37 and 39 have been

amended. Claims 24, 27-29, 31, 34-36, 38 and 41-43 have been canceled. As a result, claims

23, 25, 26, 30, 32, 33, 37, 39 and 40 are pending in this office action.




                                    Response to Arguments
4.       Applicant's arguments with respect to claims 23, 25, 26, 30, 32, 33, 37, 39 and 40 have

been fully considered but are not persuasive and the details are as follows:

        Applicant's argument states as "Janssens merely disclose updating a user's contact list

or chat list. .. there is no disclosure in paragraph 64 of Janssens of enabling communication in

the manner claimed ... the user exists in the chat list and communicate with each other before

they are linked ... ".
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       In response to Applicant's argument, the Examiner disagrees because the Janssens

discloses a bidirectional interaction or communication is created or enabled when two users

indicate a "like" for the other. Both users can enable communication such as adding each other

on their contact lists and/or they can sent a notification message, sound, graphic or the like (See

para. [0053], para. [0064] and para. [0065] and para. [0094]).             For instance, if user A "likes"

user B, user B likes user A back, a link is created. User A and user B can communicate with

each other by adding each other to the contact list and the system would send a message to

both users saying "you both link" (See para. [0094] and para. [0095]). Thus, the Janssens

reference still discloses the argued feature.

                                   Claim Rejections - 35 USC § 102

5.     In the event the determination of the status of the application as subject to AIA 35 U.S.C.

102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any correction of the

statutory basis for the rejection will not be considered a new ground of rejection if the prior art

relied upon, and the rationale supporting the rejection, would be the same under either status.

6.     The following is a quotation of the appropriate paragraphs of pre-AIA 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (e) the invention was described in (1) an application for patent, published under section
       122(b), by another filed in the United States before the invention by the applicant for patent or
       (2) a patent granted on an application for patent by another filed in the United States before
       the invention by the applicant for patent, except that an international application filed under
       the treaty defined in section 351 (a) shall have the effects for purposes of this subsection of an
       application filed in the United States only if the international application designated the United
       States and was published under Article 21 (2) of such treaty in the English language.


7.     Claims 23, 25 26, 30, 32, 33, 35, 37, 39 and 40 are rejected under pre-AIA 35 U.S.C.

102(e) as being anticipated by Janssens (US 2014/0040368A1 ).
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       Referring to claims 23, 30 and 37, Janssens discloses a computer implemented

method of profile matching (See para. [0005], a matching system identifies a plurality of

matching users from a plurality users based at least in part on the received profile

information) , comprising:

       electronically receiving a first request for matching, the first request electronically

submitted by a first user using a first electronic device (See Figure 9, para. [0041] and para.

[0112] and para. [0113], receiving a request for a new card from a user device, a request

for a profile card);

        determining a set of potential matches for the first user in response to receiving the first

 request (See para. [0115] and Figure 9, item 906, identifying a set of available cards by

 the system as potentially interesting to the viewing user);

        causing the display of a graphical representation of a first potential match of the set of

 potential matches to the first user on a graphical user interface of the first electronic device, the

 first potential match corresponding to a second user (See para. [0115]-para. [0117] and

 Figure 9, selecting and displaying a card from the set of available cards that is

 estimated or determined to be the highest rank or greater interest to the user);

       determining that the first user expressed a positive preference indication regarding the

 first potential match at least by determining that the first user performed a first swiping gesture

 associated with the graphical representation to the first potential match on the graphical user

 interface (See Figure 5, para. [0005], para. [0052], para. [0053], para. [0064] and para.

 [0095], the system receives "like" expression from the first user or the A user on the

 card-feed pane, also See para. [0047] and para. [0068] and Figure 4, swiping across the

 interface using a finger on the card, user can swipe on the "like "feature, and the
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system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card);

          in response to determining that the first user expressed the positive preference

 indication regarding the first potential match, automatically causing the graphical user interface

to display a graphical representation of a second potential match of the set of potential

 matches instead of the graphical representation of the first potential match (See para. [0047]

and para. [0118], the user of the card-feed may cycle through various cards or other

potential matches beside the first potential match, the system records different forms of

 user interactions such as clicking, mouse dragging, hovering, swiping, gesturing and so

 on are used to indicate whether a new potential match or previously viewed potential

 match is to be displayed to the user, the feed of potential matches is automatically

 cycled periodically and the system uses information such as user settings and past

 interactions between users, e.g., the interactions such as a user liked another user

and/or gave a gift to another user to determine and select which card to show next from

a set of cards or potential matches, the user may go forward in the feed by selecting the

 forward control and the process may select the next card to display to the user in the

 card-feed, also when another user likes the user's profile card, the user may go forward

 in the feed by selecting the forward control, and the system automatically selects the

 card of the person that liked that user as the next card to display to the user in the card

 feed);

          determining that the second user has expressed a positive preference indication

 regarding the first user after determining that the first user expressed the positive preference

 indication regarding the first potential match (See para. [0053], para. [0064], para. [0065] and

para. [0094] and para. [0095], a bidirectional interaction or communication is created or
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 enabled when two users indicate a "like" for the other, both users can enable

 communication such as adding each other on their contact lists and/or they can sent a

notification message, sound, graphic or the like, for instance, if user A "likes" user B,

 user B likes user A back, a link is created, user A and user B can communicate with

 each other by adding each other to the contact list and the system would send a

 message to both users saying "you both link'?;

       determining to enable communication between the first user and the second user in

 response to determining that both the first user has expressed the positive preference

 indication regarding the second user and the second user has expressed the positive

preference indication regarding the first user (See para. [0053], para. [0064], para. [0065] and

para. [0094] and para. [0095], a bidirectional interaction or communication is created or

 enabled when two users indicate a "like" for the other, both users can enable

 communication such as adding each other on their contact lists and/or they can sent a

notification message, sound, graphic or the like, for instance, if user A "likes" user B,

 user B likes user A back, a link is created, user A and user B can communicate with

 each other by adding each other to the contact list and the system would send a

 message to both users saying "you both link'1;

       in response to determining to enable communication between the first user and the

second user, causing the graphical user interface to display to the first user the graphical

 representation of the first potential match (See Figure 3, para. [0045] and para. [0056], if

 user A "likes" user B and user B "likes" user A back, a link is created, and the system

adds user A to the contact list of user B and user B to the contact list of user A, user A

 enables communication with user B by clicking the chat button once the system has

 successfully placed user B on the contract list of user A after user A has indicated a
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positive indication such as the liked indication, clicking the chat button opens the chat

pane is a text area enable the user to chat other users);

       determining that the first user expressed a negative preference indication regarding that

the third potential match at least by determining that the first user performed a second swiping

gesture associated with the graphical representation of the third potential match on the user

 interface, the second swiping gesture different than the first swiping gesture (See para.

[0052], the system also provides a control via which the user can indicate a disinterest

 in another user which is different than the "like" gesture).

       prevent communication between the first user and the third after determining that the

first user has expressed the negative preference indication regarding the third user ( See para.

[0052], preventing communication between the first user and the other user, e.g. if user

 B is a third potential match, user B is automatically be placed in ignored state and or

any future communication because the first user dislikes the profile card for user 8);

       determining that the first user expressed a positive preference indication regarding fourth

potential match of the set of potential matches at least by determine that the first user

performed the first swiping gesture associated with a graphical representation of a fourth

potential match on the graphical user interface, the fourth potential match corresponding to a

fourth user (See para. [0047] and para. [0118], the user of the card-feed may cycle

 through various cards or other potential matches beside the first potential match, the

 system records different forms of user interactions such as clicking, mouse dragging,

 hovering, swiping, gesturing and so on are used to indicate whether a new potential

 match or previously viewed potential match is to be displayed to the user, the feed of

potential matches is automatically cycled periodically and the system uses information

 such as user settings and past interactions between users, e.g., the interactions such as
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 a user liked another user and/or gave a gift to another user to determine and select

 which card to show next from a set of cards or potential matches, the user may go

 forward in the feed by selecting the forward control and the process may select the next

 card to display to the user in the card-feed, also when another user likes the user's

 profile card, the user may go forward in the feed by selecting the forward control, and

 the system automatically selects the card of the person that liked that user as the next

 card to display to the user in the card feed, also see Figure 5, para. [0005], para. [0047],

 para. [0052], para. [0053], para. [0064], para. [0068] and para. [0095], the system receives

 "like" expression from the first user or the A user on the card-feed pane, swiping across

 the interface using a finger on the card, user can swipe on the "like "feature, and the

 system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card); and

       preventing communication between the first user and the fourth user after determining

 that the fourth user has expressed a negative preference indication regarding the first user (

 See para. [0052], preventing communication between the fourth user and the first user,

 e.g. if the first user is a first potential match, the first user is automatically be placed in

 ignored state and or any future communication because the fourth user dislikes the

 profile card for the first user).




       As to claims 25, 32 and 39, Janssens discloses further comprising:


       in response to determining that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user, causing the display of a graphical
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notification, on the graphical user interface of the first electronic device, that a match

exists between the first user and the second user, the graphical notification comprising a

user interface control enabling a text area to be presented to the first user (See Figure 3, text

area 312, para. [0045] and para. [0056], if user A "likes" user B and user B "likes" user A

back, a link is created, and the system adds user A to the contact list of user B and user

B to the contact list of user A, user A enables communication with user B by clicking the

chat button once the system has successfully placed user B on the contract list of user A

after user A has indicated a positive indication such as the liked indication, clicking the

chat button opens the chat pane is a text area enable the user to chat other users).


       As to claims 26, 33 and 40, Janssens discloses the set of potential matches for the first

user comprises one or more potential matches that are each associated with a geographic

location within a threshold distance of a geographic location associated with the first user, the

threshold distance being a stored value (See para. [0055] and para. [0130], user can set

preferences on the types of cards they want to receive, e.g. a user can specify limits on

geographic range such as 10 miles from his/ her house, 20 miles from his/her work

address and etc.).




                                                 Conclusion




8.     The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for
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Art Unit: 2164

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.




                                      Contact Information

       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to YUK TING CHOI whose telephone number is (571 )270-1637. The

examiner can normally be reached on 9:30 AM - 6:00 PM EST.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone number for

the organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the Patent

Application Information Retrieval (PAIR) system. Status information for published applications

may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

applications is available through Private PAIR only. For more information about the PAIR

system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private

PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you

would like assistance from a USPTO Customer Service Representative or access to the

automated information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.

/YUK TING CHOI/

Primary Examiner, Art Unit 2164
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      14/059, 192                         RAD ET AL.
                 Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      YUK TING CHOI                       2164
                                                                          U.S. PATENT DOCUMENTS
                        Document Number                    Date
*                 Country Code-Number-Kind Code          MM-YYYY                               Name                  CPC Classification        US Classification

*        A      US-2010/0125632 A 1                     05-2010           Leonard; Melissa                               G06Q10/10                 709/204

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                                          Part of Paper No.
20160614
              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 90 of 201

                                                  Application/Control No.            Applicant( s )/Patent Under
                                                                                     Reexamination
          Index of Claims                         14059192                           RAD ET AL.

                                                  Examiner                           Art Unit

                                                  YUK TING CHOI                      2164


              Rejected                        Cancelled            N        Non-Elected           A          Appeal

  -           Allowed                         Restricted                    Interference          0         Objected

 D    Claims renumbered in the same order as presented by applicant              D   CPA        D T.D.        D    R.1.47

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                                                  Application/Control No.            Applicant( s )/Patent Under
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          Index of Claims                         14059192                           RAD ET AL.

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                                                  YUK TING CHOI                      2164


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                                     Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 92 of 201




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                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 94 of 201

                                           Application/Control No.                    Applicant( s)/Patent Under
                                                                                      Reexamination
           Search Notes                    14059192                                   RAD ET AL.

                                           Examiner                                   Art Unit

                                           YUK TING CHOI                              2164




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                         Symbol                                                   I         Date        I        Examiner
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                                                               /YUK TING CHOI/
                                                               Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                     Part of Paper No.: 20160614
                     Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 95 of 201
                                                                                                                                               PTO/SB/30 (07-09)
                                                                                                           Approved for use through 07/31/2012. OMB 0651-0031
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      Under the Paoerwork Reduction Act of 1995 no oersons are reauired to resnond to a colle,,tion of information unless it contains a valid OMB control number.

               Request                                                      Application Number                      14/059, 192

                  for                                                                                               October 21, 2013
                                                                            Filing Date
     Continued Examination (RCE)
                                                                                                                    Sean Rad
              Transmittal                                                   First Named Inventor
 Address to:                                                                                                        2164    (Confirmation #1044)
                                                                            Art Unit
 Mail Stop RCE
 Commissioner for Patents                                                   Examiner Name                           Yuk Ting Choi
 P.O. Box 1450
 Alexandria, VA 22313-1450                                                  Attorney Docket Number                  076533.0146

This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
1995, or to any design application. See Instruction Sheet for RCEs (not to be submitted to the USPTO) on page 2.

1.      [Submission required under 37 CFR 1.1141 Note: If the RCE is proper, any previously filed unentered amendments and
        amendments enclosed with the RCE will be entered in the order in which they were filed unless applicant instructs otherwise. If
        applicant does not wish to have any previously filed unentered amendment(s) entered, applicant must request non-entry of such
        amendment(s).

       a.    D        Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be
                      considered as a submission even if this box is not checked.

              i.
                      D      Consider the arguments in the Appeal Brief or Reply Brief previously filed on

              Ii.     D      Other

        b.   [Z]      Enclosed

              I.     [Z]     Amendment/Reply                                           iii.   D       Information Disclosure Statement (IDS)

              ii.    D       Affidavit(s)/ Declaration(s)                              iv.
                                                                                              D       Other

2.    (Miscellaneous]
                       Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a
       a.    D         period of          months. (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1. 17(i) required)

        b.   D         Other


3.    [Fees]          The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
                      The Director is hereby authorized to charge the following fees, any underpayment of fees, or credit any overpayments, to
       a.    [{]       Deposit Account No. 02-0384

              i.      [{] RCE fee required under37 CFR 1.17(e)
              ii.     D      Extension of time fee (37 CFR 1.136 and 1.17)

              iii.    D        other

       b.
             D        Check in the amount of$                                                        enclosed

       c.
             D         Payment by credit card (Form PT0-2038 enclosed)
WARNING: Information on this form may become public. Credit card information should not be included on this form. Provide credit
card information and authorization on PT0-2038.

                                            SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED
Signature                       , 'f.,..,._ __ r )"\.~-·-··                                                I Date                  I oiD!l) ·-o::i- :J...-0
Name (Print/Type)          Roshan S. Mansinghani                                                           I Registration No. I62,429
                                                       CERT/FICA TE OF MAILING OR TRANSMISSION
I hereby certify that this correspondence is being deposited with the United States Postal Service with sufficient postage as first class mail in an envelope
addressed to: Mail Stop RCE, Commissioner for Patents, P. 0. Box 1450, Alexandria, VA 22313-1450 or facsimile transmitted to the U.S. Patent and Trademark
Office on the date shown below.
Signature
                      I
Name (Print/Type)     I                                                                                  I Date
This collection of information 1s required by 37 CFR 1.114. The information 1s required to obtain or retain a benefit by the public which 1s to file (and by the US PTO
to process) an application. Confidentiality is governed by 35 U. S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on
the amount of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SE ND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Mail Stop RCE, Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                   If you need assistance in completing the form, call 1-800-PT0-9199 and select option 2.
               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 96 of 201
                                                                                                                                             PTO/SB/30 (07-09)
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                                                                                    U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
    Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.




                                                      Instruction Sheet for RCEs
                                                          (not to be submitted to the USPTO)




                                                                       NOTES:

An RCE is not a new application, and filing an RCE will not result in an application being accorded a new filing
date.

Filing Qualifications:
The application must be a utility or plant application filed on or after June 8, 1995. The application cannot be a provisional
application, a utility or plant application filed before June 8, 1995, a design application, or a patent under reexamination. See
37CFR 1.114(e).

Filing Requirements:
Prosecution in the application must be closed. Prosecution is closed if the applicat ion is under appeal, or the last Office
action is a final action, a notice of allowance, or an action that otherwise closes prosecution in the application (e.g., an Office
action under Ex parle Quayle). See 37 CFR 1.114(b).

A submission and a fee are required at the time the RCE is filed. If reply to an Office action under 35 U.S.C. 132 is
outstanding (e.g., the application is under final rejection), the submission must meet the reply requirements of 37 CFR 1.111. If
there is no outstanding Office action, the submission can be an information disclosure statement, an amendment, new
arguments, or new evidence. See 37 CFR 1.114(c). The submission may be a previously filed amendment (e.g., an
amendment after final rejection).




                                                                   WARNINGS:

Request for Suspension of Action:
All RCE filing requirements must be met before suspension of action is granted. A request for a suspension of
action under 37 C FR 1.103(c) does not satisfy the submission requirement and does not permit the filing of the
required submission to be suspended.

Improper RCE will NOT toll Any Time Period:

Before Appeal - If the RCE is improper (e.g., prosecution in the application is not closed or the submission or
fee has not been filed) and the application is not under appeal, the time period set forth in the last Off ice action
will continue to run and the application will be abandoned after the statutory time period has expired if a reply to
the Office action is not timely filed. No additional time will be given to correct the improper RCE.

Under Appeal - If the RCE is improper (e.g., the submission or the fee has not been filed) and the application is
under appeal, the improper RCE is effective to withdraw the appeal. Withdrawal of the appeal results in the
allowance or abandonment of the application depending on the status of the claims. If there are no allowed
claims, the application is abandoned. If there is at least one allowed claim, the application will be passed to issue
on the allowed claim(s). See MPEP 1215.01.



                             See MPEP 706.07(h) for further information on the RCE practice.



                                                                        Page 2 of 2
    Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 97 of 201




                                        Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection
with your submission of the attached form related to a patent application or patent. Accordingly,
pursuant to the requirements of the Act, please be advised that: (1) the general authority for the
collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary;
and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark
Office is to process and/or examine your submission related to a patent application or patent. If you do
not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or
abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the
          Freedom of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from
          this system of records may be disclosed to the Department of Justice to determine whether
          disclosure of these records is required by the Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of
          presenting evidence to a court, magistrate, or administrative tribunal, including disclosures to
          opposing counsel in the course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of
          Congress submitting a request involving an individual, to whom the record pertains, when the
         individual has requested assistance from the Member with respect to the subject matter of the
         record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the
         Agency having need for the information in order to perform a contract. Recipients of
         information shall be required to comply with the requirements of the Privacy Act of 1974, as
         amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in
         this system of records may be disclosed, as a routine use, to the International Bureau of the
         World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal
         agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
         the Atomic Energy Act (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator,
         General Services, or his/her designee, during an inspection of records conducted by GSA as
         part of that agency's responsibility to recommend improvements in records management
         practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
         be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not
         be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after
         either publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent
         pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
         CFR 1.14, as a routine use, to the public if the record was filed in an application which
         became abandoned or in which the proceedings were terminated and which application is
         referenced by either a published application, an application open to public inspection or an
         issued patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State,
         or local law enforcement agency, if the USPTO becomes aware of a violation or potential
         violation of law or regulation.
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 98 of 201
ATTORNEY DOCKET NO.:                                                  PATENT APPLICATION
076533.0146                                                                     14/059,192

                                                   1



              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:            Sean Rad et al.
Serial No.:                      14/059,192
Filing Date:                     October 21, 2013
Group Art Unit:                  2164
Examiner:                        Yuk Ting Choi
Confirmation No.:                1044
Title:                           MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450



                               Request for Continued Examination

           Applicants respectfully request the Examiner to reconsider this application in view of
this Request for Continued Examination (RCE). Please amend the application as follows:




25742049
           Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 99 of 201

ATTORNEY DOCKET NO.:                                                     PATENT APPLICATION
076533.0146                                                                        14/059,192

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In the Claims:

           1.-22. (Canceled)


           23.    (Currently Amended) A computer implemented method of profile matching,
comprising:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable communication between the first user and the second user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to determining to enable communication between the first user and the
second user, causing the graphical user interface to display to the first user beth the graphical
representation of the first potential match;




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ATTORNEY DOCKET NO.:                                                  PATENT APPLICATION
076533.0146                                                                     14/059,192

                                                  3


           determining that the first user expressed a negative preference indication regarding a
seeond third potential match of the set of potential matches at least by determining that the
first user performed a second swiping gesture associated with a graphical representation of
the seeond third potential match on the graphical user interface, the second swiping gesture
different than the first swiping gesture, the seeond third potential match corresponding to a
third user;
           determining to prevent preventing communication between the first user and the
third user in resvense to after determining that OOth the first user has expressed the positive
negative preference indication regarding the seeend third user and the seeond user has
expressed the posith'e preference indication regardiHg th.it: fiFst user;
           determining that the first user expressed a positive preference indication regarding a
t-hWd fourth potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation of the
t-hWd fourth potential match on the graphical user interface, the tllifd. fourth potential match
corresponding to a fourth user; and
           determining to preyent preventing communication between the first user and the
fourth user in response to after determining that the fourth user has expressed a negative
preference indication regarding the first user.


           24.    (Canceled)


           25.    (Currently Amended) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling the~ text area to be presented to the first user.




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           26.   (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.   (Canceled)


           28.   (Canceled)


           29.   (Canceled)




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           30.    (Currently     Amended)       A   non-transitory    computer-readable     medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match coffesponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable communication between the first user and
the second user, cause the graphical user interface to display to the first user bath the
graphical representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
see0nd third potential match of the set of potential matches at least by determining that the
first user performed a second swiping gesture associated with a graphical representation of
the see0nd third potential match on the graphical user interface, the second swiping gesture



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different than the first swiping gesture, the seeend third potential match corresponding to a
third user;
           determine ta prevent communication between the first user and the third user iH
response to after determining that OOth the first user has expressed the pesith'e negative
preference indication regarding the seeond third user and the seeond user has expressed
the posith'e preferenee indieation regarding the first user;
           determine that the first user expressed a positive preference indication regarding a
third fourth potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation of the
third fourth potential match on the graphical user interface, the third fourth potential match
corresponding to a fourth user; and
           determine to prevent communication between the first user and the fourth user iH
response ta after determining that the fourth user has expressed a negative preference
indication regarding the first user.


           31.    (Canceled)


           32.    (Currently Amended) The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling the!! text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.




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       34.   (Canceled)


       35.   (Canceled)


       36.   (Canceled)




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           37.    (Currently Amended) A system for profile matching, comprising:
           an interface operable to:
                  electronically receive      a first request for matching, the first request
electronically submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
                  determine a set of potential matches for the first user in response to receiving
the first request;
                  cause the interface to display a graphical representation of a first potential
match of the set of potential matches to the first user on a graphical user interface of the first
electronic device, the first potential match corresponding to a second user;
                  determine that the interface has received a positive preference indication from
the first user regarding the first potential match at least by determining that the first user
performed a first swiping gesture associated with the graphical representation of the first
potential match on the graphical user interface;
                  automatically cause the interface to remove the presentation of the first
potential match from the graphical user interface in response to detecting the gesture and
cause the interface to present, on the graphical user interface, a second potential match of the
set of potential matches to the first user;
                  determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
                  determine to enable communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
                  in response to the determination to enable communication between the first
user and the second user, cause the graphical user interface to display to the first user OOth
the graphical representation of the first potential match;
                  determine that the first user expressed a negative preference indication
regarding a seeend third potential match of the set of potential matches at least by
determining that the first user performed a second swiping gesture associated with a graphical



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representation of the seeoml third potential match on the graphical user interface, the second
swiping gesture different than the first swiping gesture, the seeond third potential match
corresponding to a third user;
                 determine to prevent communication between the first user and the third user
in response to after determining that OOth- the first user has expressed the positive negative
preference indication regarding the seeond third user and the seeond user has expressed
the positive preferenee indieation regarding the first user;
                 determine that the first user expressed a positive preference indication
regarding a third fourth potential match of the set of potential matches at least by
determining that the first user performed the first swiping gesture associated with a graphical
representation of the third fourth potential match on the graphical user interface, the thiffi
fourth potential match corresponding to a fourth user; and
                 determine to prevent communication between the first user and the fourth
user in response to after determining that the fourth user has expressed a negative preference
indication regarding the first user.


           38.   (Canceled)


           39.   (Currently Amended) The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling the!! text area to be presented to the first user.


           40.   (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.

           41.   (Canceled)


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       42.   (Canceled)


       43.   (Canceled)




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                                            REMARKS
           Applicants attempted to revise the claims after noting certain unintentional errors and
submitted an amendment under 37 C.F.R. § 1.312 on May 11, 2016.                  This request was
rejected by the Examiner on May 19, 2016.             Thus, Applicants submit the present RCE
amending Claims 23, 25, 30, 32, 37, and 39.
           Previously, U.S. Patent Publication No. 2014/0040368 Al by Janssens ("Janssens")
and U.S. Patent Publication No. 2011/0087974 Al by Kulas ("Kulas") had been used to
reject the application. The claims as amended here are allowable over these references. For
example, neither the cited portions Janssens nor Kulas disclose the particular manner of
expressing preferences and enabling communication as recited in the limitations of amended
Claim 23.
           Janssens discloses a social interaction system that includes a way for a user to find
people of interest.     Janssens at if 0004.    A card-feed pane displays "cards," which may
display profiles of users. Id. at if 0046. A left (backward) arrow and right (forward) enable
the user to view other cards within the card-feed.        Id. at if 0047.   Additionally, clicking,
mouse dragging, hovering, swiping, and gesturing, may indicate to the system to display a
new card. Id. The card-feed also includes a "like" button that records an indication that the
current user is interested in the user whose card is being displayed. Id. at iJ 0052.
           The Examiner has relied on Janssens at paragraphs 64 and 95 as allegedly disclosing
enabling communication between the first user and the second user in response to
determining that the second user has expressed approval for the first user. These paragraphs,
however, merely disclose updating a user's contact list or chat list. For example, paragraph
64 discloses that when a user links with another user (e.g., where both users indicated they
liked the other user), a small image (e.g., a thumbnail picture) of the linked user previously or
newly presented in the chat list or elsewhere may be highlighted or otherwise identified on
the user interface (e.g., relative to images of other users in the chat list that are not a link).
Thus, upon forming a link the user's chat list images are updated. There is no disclosure in
paragraph 64 of Janssens of enabling communication in the manner claimed.               In fact, as
shown above, Janssens teaches away from the claim limitations identified above because it
discloses that users exist in the chat list (and communicate with each other) before they are
linked. Paragraph 95 of Janssens merely discloses that a contact may be automatically added



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to a given user's contact list when two users are linked and suggests that users could
communicate before being linked.
           Other portions of Janssens previously cited by the Examiner are also deficient.
Paragraphs 52-53 of Janssens suggests that users can freely communicate unless they are
prevented once a user requests. This teaches away from the claimed manner of enabling
communication as users are prevented from communicating until the conditions specified in
the claim are met.        See also id. at if 5.   Paragraph 56 of Janssens, which addresses
communication in the system, fails to disclose the claimed manner of enabling
communication. Rather, consistent with the teachings of Janssens, it merely discloses users
setting preferences but otherwise open communication between users of the system.
Paragraph 178 addresses a "speed dating" situation where users who have expressed no
preference for other users are forced to chat with another for a specified period of time. This
again teaches away from the claimed manner of enabling communication which require a
particular set of factors to allow for communication between users.
           Kulas discloses controls in a graphical user interface where a user's touch or swipe of
the control indicates the user's state of mind. Kulas at ii 0005. The cited portions of Kulas
do not address when communication is allowed between users. As such, the cited portions of
Kuals do not remedy the deficiencies of Janssens.
           For at least these reasons, the proposed Janssens-Kulas combination at least fails to
disclose, teach or suggest the above cited element of Claim 23.              Thus, the proposed
combination fails to disclose, teach or suggest each element of independent Claim 23.
Accordingly, Claim 23 and each of its dependent claims are in condition for allowance.
           For analogous reasons, Applicants respectfully submit that Claim 30 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn.       The elements of Claim 30 are not shown by Janssens or Kulas for reasons
analogous to those discussed above regarding Claim 23.            Thus, for at least the reasons
discussed with respect to Claim 23, Applicants respectfully request allowance of Claim 30
and its dependent claims.
           For analogous reasons, Applicants respectfully submit that Claim 3 7 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn.      The elements of Claim 37 are not shown by Janssens or Kulas, for reasons



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analogous to those discussed above regarding Claim 23.     Thus, for at least the reasons
discussed with respect to Claim 23, Applicants respectfully request that Claim 37 and its
dependent claims be allowed.




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                                          CONCLUSION

           Applicants have made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicants respectfully
request reconsideration and full allowance of all pending claims.
           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicants, at the Examiner's convenience at (214) 953-6737.
           As indicated on the accompanying RCE Transmittal form, the Commissioner is
authorized to charge the amount of $1,700.00 for the RCE fee to Deposit Account No. 02-
0384 of BAKER BOTTS L.L.P.             Although Applicants believe no other fees are due, the
Commissioner is authorized to charge any necessary additional fees and credit any
overpayments to Deposit Account No. 02-0384 of BAKER BOTTS L.L.P.


                                                Respectfully submitted,

                                                BAKER BOTTS L.L.P.
                                                Attorneys for Applicants

                                                  _,,/"'~~'-·--~~-----
                                                Roshan S. Mansinghani
                                                Reg. No. 62,429
                                                (214) 953-6737

Date:        .st_.{µ lz_ ci;0
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Correspondence Address:
Customer No:             106095




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                             Electronic Patent Application Fee Transmittal
 Application Number:                            14059192


 Filing Date:                                   21-0ct-2013




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Roshan Suresh Mansinghani/Laurie Scott


 Attorney Docket Number:                        076533.0146


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                  Sub-Total in
                         Description                   Fee Code        Quantity          Amount
                                                                                                    USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
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                                                                                   Sub-Total in
                      Description              Fee Code      Quantity     Amount
                                                                                     USO($)


Miscellaneous:


             RCE- 2nd and Subsequent Request     1820           1          1700        1700


                                                        Total in USO($)            1700
             Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 114 of 201
                                      Electronic Acknowledgement Receipt

                         EFSID:                                25900252


                  Application Number:                          14059192


         International Application Number:

                  Confirmation Number:                         1044




                    Title of Invention:                        Matching Process System And Method




       First Named Inventor/Applicant Name:                    Sean Rad


                   Customer Number:                            5073


                           Filer:                              Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                        Roshan Suresh Mansinghani


               Attorney Docket Number:                         076533.0146


                      Receipt Date:                            26-MA Y-2016


                       Filing Date:                            21-0CT-2013


                      Time Stamp:                              17:00:02


                    Application Type:                          Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                         yes

Payment Type                                                  Deposit Account

Payment was successfully received in RAM                      $1700

RAM confirmation Number                                        3596

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Authorized User                                                BAKER & BOTIS, LLP

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
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      Charge any Additional Fees required under 37 CFR 1.17 (Patent application and reexamination processing fees)
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 Document                                                                                     File Size(Bytes}/                   Multi              Pages
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                          Amendment Submitted/Entered with Filing of CPA/RCE                                1                                 1



                                                 Claims                                                     2                                 10



                          Applicant Arguments/Remarks Made in an Amendment                                 11                                 14


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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
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                                                                                                                                                                                 PTO/SB/06 (09-11)
                                                                                                                                                Approved for use through 1/31/2014. OMB 0651-0032
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number                Filing Date
                                       Substitute for Form PT0-875                                                      14/059, 192                     10/21/2013             D To be Mailed

                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

  D BASIC FEE                                             N/A                                    N/A                                     N/A
          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                    N/A                                     N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                    N/A                                     N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
  0APPLICATION SIZE FEE
                                               for small entity) for each additional 50 sheets or
    (37 CFR 1.16(s))
                                               fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                               CFR 1.16(s).
  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)               (Column 3)

                                   CLAIMS                           HIGHEST
                                   REMAINING                        NUMBER
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           05/26/2016              AFTER                            PREVIOUSLY
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:;:;;:     1.16(j))
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0          Independent
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           D Application Size Fee (37 CFR 1.16(s))
           D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE                               0
                                       (Column 1)                        (Column 2)               (Column 3)

                                     CLAIMS                          HIGHEST
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 z         D Application Size Fee (37 CFR 1.16(s))
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 <(        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
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  * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                         LIE
  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                /LAMONT MCLAUCHLIN/
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
  The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of 1nformat1on 1s required by 37 CFR 1.16. The 1nformat1on 1s required to obtain or retain a benefit by the public which 1s to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1 .14. This collection is estimated to take 12 minutes to complete, including gathering,
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                Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 118 of 201
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             05/19/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   05/19/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 119 of 201

                                                                        Application No.                  Applicant(s)

                                                                        14/059, 192                       RAD ET AL.
  Response to Rule 312 Communication
                                                                        Examiner                         Art Unit

                                                                        YUK TING CHOI                    2164

                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address -




1. ~The amendment filed on 11 Mav2016 under 37 CFR 1.312 has been considered, and has been:
      a) D      entered.

      b) D      entered as directed to matters of form not affecting the scope of the invention.

      c) D     disapproved because the amendment was filed after the payment of the issue fee.
                    Any amendment filed after the date the issue fee is paid must be accompanied by a petition under 37 CFR 1.313(c)(1) and
                    the required fee to withdraw the application from issue.

     d) ~ disapproved. See explanation below.

      e) D      entered in part. See explanation below.


      The Amendments filed on May 11, 2016 changed the scope of the current claimed invention. Applicant changed the scope of
      the invention by amending the second potential match to a third potential match and prevent communication between the first
      user and the third user after determing the first user has expressed negative preference indication regarding the third user.




                                                                               /YUK TING CHOI/
                                                                               Primary Examiner, Art Unit 2164

U.S. Patent and Trademark Office
PTOL-271 (Rev. 04-01)                                  Reponse to Rule 312 Communication                   Part of Paper No. 20160516
         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 120 of 201
ATTORNEY DOCKET NO.:                                                 PATENT APPLICATION
076533.0146                          DO NOT ENTER: /C.C,/                      14/059,192

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             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:            Sean Rad et al.
Serial No.:                      14/059,192
Filing Date:                     October 21, 2013
Group Art Unit:                  2164
Examiner:                        Yuk Ting Choi
Confirmation No.:                1044
Title:                           MATCHING PROCESS SYSTEM AND METHOD



MAIL STOP: AF
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450



                           AMENDMENT UNDER 37 C.F.R. § 1.312

           Applicants request that the following amendments which is submitted prior to or with
payment of the Issue Fee, be entered under 37 C.F.R. § 1.312.




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    APPLICATION NO.            FILING DATE              FIRST NAMED INVENTOR             ATTORNEY DOCKET NO.         CONFIRMATION NO.

       141059, 192             I 0/21/2013                      Sean Rad                      076533.0146                  1044
                                                                                                             EXAMINER
                        7590            05/16/2016
     BAKER BOTTS L.L.P.                                                                                   CHOI, YUK TING
     2001 ROSS AVENUE
                                                                                               ART UNIT               PAPER NUMBER
     SUITE 600
     DALLAS, TX 75201-2980                                                                        2164

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                                                                                              05116/2016              ELECTRONIC


                               NOTICE REQUIRING INVENTOR'S OATH OR DECLARATION

 0 An inventor's oath or declaration in compliance with 37 CFR 1.63 or substitute statement in compliance with 37 CFR 1.64
 executed by or with respect to each inventor has not yet been submitted.

 The inventor's oath or declaration or substitute statement dated               is defective. The inventor's oath or declaration
 does not comply with 37 CFR 1.63 or the substitute statement dot::s nut comply with 37 CFR 1.64 because it:
 0 does not include a statement that the person executing the oath or declaration or substitute statement believes the named
 inventor or joint inventor to be the original inventor or an original joint inventor of a claimed invention in the application for
 which the oath or declaration is being submitted.
 0 does not state that the application was made or was authorized to be made by the person executing the oath or declaration or
 substitute statement.
 0 does not acknowledge that any willful false statement made in such oath or declaration or substitute statement is punishable
 under section I 00 I of title 18 by fine or imprisonment of not more than 5 years, or ho th.
 0 does not identify the person executing the oath or declaration or substitute statement by his or her legal name.
 0 does not identify the application to which the oath or declaration or substitute statement is directed.

 0 Other:-------------------------------

 The substitute statement dated ) ..... } )-/b does not comply with 37 CFR 1.64 because it:
 U does not identify the inventor with respect to whom the statement applies.
 0 does not identify the relationship to the non-signing inventor.
 0 does not identify the circumstances permitting execution of the statement.
 O ~ signed by someone other than the applicant.                                                                                           .}-
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 An oath or declarati<5n in compliance with 37 CFR 1.63, or a substitute statement in compliance with 37 CFR 1.64, executed
 by or with respect to each inventor MUST be filed no later than the date on which the issue fee is paid. See 35 U.S.C.
 l 15(t). Failure to timely comply will result in ABANDONMENT of this application. This period for reply is not extendable
 under 37 CFR l.136(a).
 Questions relating to this Notice should be directed to the Application Assistance Unit at 571-272-4200.
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ATTORNEY DOCKET NO.:                                                 PATENT APPLICATION
076533.0146                                                                    14/059,192

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             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:            Sean Rad et al.
Serial No.:                      14/059,192
Filing Date:                     October 21, 2013
Group Art Unit:                  2164
Examiner:                        Yuk Ting Choi
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Title:                           MATCHING PROCESS SYSTEM AND METHOD



MAIL STOP: AF
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450



                           AMENDMENT UNDER 37 C.F.R. § 1.312

           Applicants request that the following amendments which is submitted prior to or with
payment of the Issue Fee, be entered under 37 C.F.R. § 1.312.




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In the Claims:

           23.    (Currently Amended) A computer implemented method of profile matching,
comprising:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable communication between the first user and the second user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to determining to enable communication between the first user and the
second user, causing the graphical user interface to display to the first user 00-th the graphical
representation of the first potential match;
           determining that the first user expressed a negative preference indication regarding a
seeond third potential match of the set of potential matches at least by determining that the
first user performed a second swiping gesture associated with a graphical representation of


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the seeend third potential match on the graphical user interface, the second swiping gesture
different than the first swiping gesture, the seeend third potential match corresponding to a
third user;
           determining te tJrevent preventing communication between the first user and the
third user in restJense te after determining that OOth the first user has expressed the pesitive
negative preference indication regarding the seeend third user and the seeend user has
extJressed the tJesitive preferenee indieatien Fegarding the first user;
           determining that the first user expressed a positive preference indication regarding a
thiFd fourth potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation of the
thiFd fourth potential match on the graphical user interface, the thiFd fourth potential match
corresponding to a fourth user; and
           determining te prevent preventing communication between the first user and the
fourth user in restJense te after determining that the fourth user has expressed a negative
preference indication regarding the first user.


           25.    (Currently Amended) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling the!!. text area to be presented to the first user.


           26.    (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.




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           30.    (Currently     Amended)       A       non-transitory   computer-readable   medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable communication between the first user and
the second user, cause the graphical user interface to display to the first user OOth the
graphical representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
seeond third potential match of the set of potential matches at least by determining that the
first user performed a second swiping gesture associated with a graphical representation of
the seeond third potential match on the graphical user interface, the second swiping gesture



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different than the first swiping gesture, the seeond third potential match corresponding to a
third user;
           deteFmine to prevent communication between the first user and the third user in
Fesponse to after determining that 00-th the first user has expressed the positP1e negative
preference indication regarding the seeend third useF and the see0Hd useF has expFessed
the positive pFefeFenee indieatien FegaFding the fiFSt user;
           determine that the first user expressed a positive preference indication regarding a
-thWd fourth potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation of the
-thWd fourth potential match on the graphical user interface, the thiffi fourth potential match
corresponding to a fourth user; and
           deteFmine te prevent communication between the first user and the fourth user in
Fesponse te after determining that the fourth user has expressed a negative preference
indication regarding the first user.


           32.    (Currently Amended) The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling the!! text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.




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           37.    {Currently Amended) A system for profile matching, comprising:
           an interface operable to:
                  electronically receive a first request for matching, the first request
electronically submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
                  determine a set of potential matches for the first user in response to receiving
the first request;
                  cause the interface to display a graphical representation of a first potential
match of the set of potential matches to the first user on a graphical user interface of the first
electronic device, the first potential match corresponding to a second user;
                  determine that the interface has received a positive preference indication from
the first user regarding the first potential match at least by determining that the first user
performed a first swiping gesture associated with the graphical representation of the first
potential match on the graphical user interface;
                  automatically cause the interface to remove the presentation of the first
potential match from the graphical user interface in response to detecting the gesture and
cause the interface to present, on the graphical user interface, a second potential match of the
set of potential matches to the first user;
                  determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
                  determine to enable communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
                  in response to the determination to enable communication between the first
user and the second user, cause the graphical user interface to display to the first user OOth
the graphical representation of the first potential match;
                  determine that the first user expressed a negative preference indication
regarding a seeond third potential match of the set of potential matches at least by
determining that the first user performed a second swiping gesture associated with a graphical



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representation of the see0nd third potential match on the graphical user interface, the second
swiping gesture different than the first swiping gesture, the see0nd third potential match
corresponding to a third user;
                 deteFmine to prevent communication between the first user and the third user
in Fesp0nse ta after determining that 00-th the first user has expressed the p0sitiYe negative
preference indication regarding the see0nd third user and the see0nd useF has expressed
the p0sitive pFefeFenee indieation FegaFding the fiFst user;
                 determine that the first user expressed a positive preference indication
regarding a thiFd fourth potential match of the set of potential matches at least by
determining that the first user performed the first swiping gesture associated with a graphical
representation of the thiffi fourth potential match on the graphical user interface, the thiffi
fourth potential match corresponding to a fourth user; and
                 deteFmine to prevent communication between the first user and the fourth
user in Fesp0nse te after determining that the fourth user has expressed a negative preference
indication regarding the first user.


           39.   (Currently Amended) The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling the!! text area to be presented to the first user.


           40.   (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.




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ATTORNEY DOCKET NO.:                                            PATENT APPLICATION
076533.0146                                                               14/059, 192

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                                        REMARKS
           Applicants respectfully request that the amendments above be entered.   The
Commissioner is hereby authorized to charge any additional fees and credit any
overpayments to Deposit Account No. 02-0384 of BAKER BOTTS L.L.P.




                                           Respectfully submitted,

                                           BAKER BOTTS L.L.P.
                                           Attorneys for Applicants

                                          ~~-·
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                                                                                         Attorney Docket Number             076533.0146
   Application Data Sheet 37 CFR 1. 76
                                                                                         Application Number                  14/059,192
   Title of Invention                      Matching Process System And Method

   The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
   bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1.76.
   This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
   document may be printed and included in a paper filed application.



Secrecy Order 37 CFR 5.2
    D Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
             37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

Inventor Information:
  Inventor 1                                                                                                                                 I Remove I
  Legal Name

   Prefix Given Name                                                                Middle Name                             Family Name                                              Suffix
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    Residence Information (Select One) (!) US Residency                                             0     Non US Residency             0 Active US Military Service
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                                                                  Attorney Docket Number                  076533.0146
 Application Data Sheet 37 CFR 1. 76
                                                                  Application Number                      14/059,192

 Title of Invention      Matching Process System And Method


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Inventor 4                                                                                                                 I Remove I
Legal Name

 Prefix Given Name                                          Middle Name                                   Family Name                                            Suffix
         James                                              C.                                            Stone
 Residence Information (Select One)                   ® US Residency               0     Non US Residency            Q     Active US Military Service
 City    Addison                                   I State/Province I TX                  I Country of Residenc~ I us

Mailing Address of Inventor:

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 Address 2
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 Postal Code                        75001
                                                                              I Countryi     I us
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                            I Add I
Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

D An Address is being provided for the correspondence Information of this application.
 Customer Number                    05073

 Email Address                      PT0mail1@bakerbotts.com
                                                                                                                  I I Add Email I               IRemove Email I
Application Information:
 Title of the Invention              Matching Process System And Method

 Attorney Docket Number 076533.0146                                                    I Small Entity Status Claimed D
 Application Type                    Non provisional

 Subject Matter                      Utility

 Total Number of Drawing Sheets (if any)                      I 11                      I Suggested Figure for Publication (if any) I
Filing By Reference :
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                                                                    Attorney Docket Number                  076533.0146
 Application Data Sheet 37 CFR 1. 76
                                                                    Application Number                     14i'.'.059 2 192
 Title of Invention        Matching Process System And Method


Only complete this section when filing an application by reference under 35 U.S.C. 111 (c) and 37 CFR 1.57(a). Do not complete this section if
application papers including a specification and any drawings are being filed. Any domestic benefit or foreign priority information must be
provided in the appropriate section(s) below (i.e., "Domestic Benefit/National Stage Information" and "Foreign Priority Information").

For the purposes of a filing date under 37 CFR 1.53(b), the description and any drawings of the present application are replaced by this
reference to the previously filed application, subject to conditions and requirements of 37 CFR 1.57(a).
                                                                                                                                                                                 i-
 Application number of the previously                  Filing date (YYYY-MM-DD)                                     Intellectual Property Authority or Country
 filed application




 Publication Information:
 D     Request Early Publication (Fee required at time of Request 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under
       35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
 D     subject of an application filed in another country, or under a multilateral international agreement, that requires
       publication at eighteen months after filing.




Representative Information:
 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.



 Please Select One:                @ Customer Number                  I 0 US Patent Practitioner 10 Limited Recognition (37 CFR 11.9)
 Customer Number                   05073




Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate National Stage
entry from a PCT application. Providing this information in the application data sheet constitutes the specific reference required
by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the application number blank.

     Prior Application Status                                                                                                         I Remove I
      Application Number                         Continuity Type                      Prior Application Number                 Filing Date (YYYY-MM-DD)
                                      Claims benefit of erovisional                 61/793866                                2013-03-15
     Prior Application Status                                                                                                         I Remove I
     Application Number                          Continuity Type                      Prior Application Number                 Filing Date (YYYY-MM-DD)
                                      Continuation in part of                        12/339301                               2008-12-19
 Additional Domestic Benefit/National Stage Data may be generated within this form
 by selecting the Add button.
                                                                                                                                                                  r   IUIM.IM.J l"'t   \l~~l.J}

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                                                                                 Attorney Docket Number                  076533.0146
    Application Data Sheet 37 CFR 1. 76
                                                                                 Application Number                      14/059,192

    Title of Invention                  Matching Process System And Method



Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1.5.5(d). When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (POX) 1 the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(h)(1) and (2). Under the POX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1 ).

                                                                                                                                                   I Remove I
         Application Number                                      Countryi                   Filing Date (YYYY-MM-DD)                          Access Codei (if applicable)


    Additional Foreign Priority Data may be generated within this form by selecting the
    Add button.




Statement under 37 CFR 1.55 or 1. 78 for AIA (First Inventor to File) Transition
Applications

         This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
         contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
    ~ 16, 2013.
-         NOTE: By providing this statement under 37 CFR 1.55 or 1. 78, this application, with a filing date on or after March
          16, 2013, will be examined under the first inventor to file provisions of the AIA.




Authorization to Permit Access:
~       Authorization to Permit Access to the Instant Application by the Participating Offices




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                                                                        Attorney Docket Number                  076533.0146
 Application Data Sheet 37 CFR 1. 76
                                                                        Application Number                     14/059.192
 Title of Invention            Matching Process System And Method


If checked, the undersigned hereby grants the USPTO authority to provide the European Patent Office (EPO),
the Japan Patent Office (JPO), the Korean Intellectual Property Office (KIPO), the World Intellectual Property Office (WIPO),
and any other intellectual property offices in which a foreign application claiming priority to the instant patent application
is filed access to the instant patent application. See 37 CFR 1.14(c) and (h). This box should not be checked if the applicant
does not wish the EPO, JPO, KIPO, WIPO, or other intellectual property office in which a foreign application claiming priority
to the instant patent application is filed to have access to the instant patent application.

In accordance with 37 CFR 1.14(h){3), access will be provided to a copy of the instant patent application with respect
to: 1) the instant patent application-as-filed; 2) any foreign application to which the instant patent application
claims priority under 35 U.S.C. 119{a)-(d) if a copy of the foreign application that satisfies the certified copy requirement of
37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-filed from which benefit is
sought in the instant patent application.

In accordance with 37 CFR 1.14(c), access may be provided to information concerning the date of filing this Authorization.




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.

 Applicant           1
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                      Clear
                                                                                                                                            I             I
-@0   Assignee
                                                  lo       Legal Representative under 35 U.S.C. 117
                                                                                                                             lo      Joint Inventor

      Person to whom the inventor is obligated to assign.
                                                                                          lo        Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:


                                                                                                                               I
Name of the Deceased or Legally Incapacitated Inventor:                           I                                                                                              I
 If the Applicant is an Organization check here.                            r8J
 Organization Name                I Tinder, Inc.
 Mailing Address Information For Applicant:
 Address 1                                 8899 Severi~ Blvd.

 Address 2

 City                                      West Holl~ood                                   State/Province                 E:...
 Count..Y        j...Y.§.                                                                  Postal Code                     ~QQ~fl

 Phone Number                                                                              Fax Number
                                       I
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                                                                   Attorney Docket Number                  076533.0146
 Application Data Sheet 37 CFR 1. 76
                                                                   Application Number                      14/059,192
 Title of Invention       Matching Process System And Method


 Email Address                     I
Additional Applicant Data may be generated within this form by selecting the Add button.



Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not subsitute for compliance with any requirement of part 3 of Title 37 of CFR to
have an assignment recorded by the Office.


  Assignee      1
Complete this section if assignee information, including non-applicant assignee information, is desired to be included on the patent
application publication . An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the
patent application publication.



 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                               D
 Prefix                          Given Name                         Middle Name                        Family Name                       Suffix



Mailing Address Information For Assignee including Non-Applicant Assignee:

 Address 1
 Address 2
 City                             I                                                    State/Province
 Countryi        I                                                                     Postal Code
 Phone Number                                                                          Fax Number

 Email Address
Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
selecting the Add button.


Signature:
 NOTE: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4 for signature requirements and
 certifications.
 Signature                                                                                                 Date (YYYY-MM-DD) "Z~f,.,,01' .,.f 0

 First Name         Chad c.                    Last Name            Walters                                Registration Number               48022

 Additional Signature may be generated within this form by selecting the Add button.
                                                                                                                                                   r1V//"\l/"\ll"i \IL.-1.,J)

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                                                                  Attorney Docket Number                  076533.0146
Application Data Sheet 37 CFR 1. 76
                                                                  Application Number                     14/059,192

Title of Invention       Matching Process System And Method




This collection of information is required by 37 CFR 1. 76. The information is required to obtain or retain a benefit by the public which
is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This
collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
sheet form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to
complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR
COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                  Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 137 of 201


                                                         Privacy Act Statement




The Privacy Act of 1974 (P .L. 93-579) requires that you be given certain information in connection with your submission of the attached form related to
a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised that: (1) the general authority for the collection
of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is
used by the U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not
furnish the requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

     1.        The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552)
          and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice to determine
          whether the Freedom of Information Act requires disclosure of these records.

2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a court, magistrate, or
     administrative tribunal, including disclosures to opposing counsel in the course of settlement negotiations.

     3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an
          individual, to whom the record pertains, when the individual has requested assistance from the Member with respect to the subject matter of
          the record.

     4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in
          order to perform a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as
          amended, pursuant to 5 U.S.C. 552a(m).

     5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed,
          as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant to the Patent C o o p eration Treaty.

     6.        A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security
          review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.         A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or his/her designee,
          during an inspection of records conducted by GSA as part of that agency's responsibility to recommend improvements in records
          management practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the
          GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
          disclosure shall not be used to make determinations about individuals.

     8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuan1
          to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
          CFR 1.14, as a routine use, to the public if the record was filed in an application which became abandoned or in which the proceedings were
          terminated and which application is referenced by either a published application, an application open to public inspections or an issued
          patent.

     9.      A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law enforcement agency, if the
          USPTO becomes aware of a violation or potential violation of law or regulation.
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ATTORNEY DOCKET NO.                                                    DECLARATION AND
076533.0146                                                          POWER OF ATTORNEY

                                             I of 6


                      DECLARATION AND POWER OF ATTORNEY


        As a below named inventor, I hereby declare:
        that my residence and post office address, are as stated below next to my name;
        that I believe I am the original and sole inventor (if only one name is listed below) or
an original and joint inventor (if plural names are listed below) of the subject matter which is
claimed and for which a patent is sought on the invention, design or discovery in an
application entitled MATCHING PROCESS SYSTEM AND METHOD, of which (check
one):
               __ is attached hereto; or
               _x_ was filed on October 21, 2013 as Application Serial No. 14/059,192 and
was amended on _ _ (if applicable);
        that I have reviewed and understand the contents of the above-identified specification,
including the claims, as amended by any amendment referred to above;
        that I acknowledge the duty to disclose to the U.S. Patent and Trademark Office all
information known to me to be material to patentability as defined in 37 C.F.R. § 1.56; and
        that I have made or authorized to be made the application for the above entitled
invention, design, or discovery.
  Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 139 of 201

ATTORNEY DOCKET NO.                                                     DECLARATION AND
076533.0146                                                           POWER OF ATTORNEY

                                              2 of6


        I hereby appoint:



               Practitioners at Customer Number       05073

all of the firm of BAKER BOTTS L.L.P., my attorneys with full power of substitution and
revocation, to prosecute this application and to transact all business in the United States
Patent and Trademark Office connected therewith, and to file and prosecute any international
patent applications filed thereon before any international authorities.


        Send Correspondence To:                               Direct Telephone Calls To:
        Chad C. Walters                                       Chad C. Walters
        Customer Number 05073                                 at 214.953.6511


       I hereby declare that all statements made herein of my own knowledge are true and
that all statements made on infonnation and belief are believed to be true; and further that
these statements were made with the knowledge that willful false statements and the like so
made are punishable by fine or imprisonment of not more than five years, or both, under
Section 1001 of Title 18 of the United States Code, and that such willful false statements may
jeopardize the validity of the application or any patent issuing thereon.
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ATTORNEY DOCKET NO.                                          DECLARATION AND
076533.0146                                                POWER OF ATTORNEY

                                 3 of6




Title of Invention:        Matching Process System And Method


Full name of inventor:


Inventor's signature:
Date:
Residence (City, State):   Los Angeles, California
Post Office Address:       10430 Wilshire Blvd.
                           Unit 1403
                           Los Angeles, California 90024
  Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 141 of 201

ATTORNEY DOCKET NO.                                       DECLARATION AND
076533.0146                                             POWER OF ATTORNEY

                                 4 of6


Title of Invention:        Matching Process System And Method


Full name of inventor:     Todd M. Carrico ·


Inventor's signature:
Date:
Residence (City, State):   ~;r~- /h ?t>-.5 5          <--, T-:e y. "'\, s
Post Office Address:       J~UrifiSeLane
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ATTORNEY DOCKET NO.                                    DECLARATION AND
076533.0146                                          POWER OF ATTORNEY

                                 5 of6


Title of Invention:        Matching Process System And Method


Full name of inventor:


Inventor's signature:
Date:
Residence (City, State):   Plano, Texas
Post Office Address:       1817 Chancellor Drive
                           Plano, Texas 75074
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ATTORNEY DOCKET NO.                                    DECLARATION AND
076533.0146                                          POWER OF ATTORNEY

                                 6 of6


Title of Invention:        Matching Process System And Method


Full name of inventor:     James C. Stone


Inventor's signature:
Date:
Residence (City, State):   Addison, Texas
Post Office Address:       15826 Breedlove
                           Addison, Texas 75001
                  Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 144 of 201
   Doc code: Oath
   Document Description: Oath or declaration filed
                                                                                                                                                   PTO/AIN02 (07-13)
                                                                                                              Approved for use through 04/30/2017. OMB 0651-0032
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          SUBSTITUTE STATEMENT IN LIEU OF AN OATH OR DECLARATION FOR UTILITY
              OR DESIGN PATENT APPLICATION (35 U.S.C. 115(d) AND 37 CFR 1.64)                                                                                                )
  Title of        MATCHING PROCESS SYSTEM AND METHOD
  Invention


This statement is directed to:

 D The attached application,
  OR

 [ijunited States appllcation or PCT international application number
                                                                                                 14/059, 192 fried on 21 October 2013
LEGAL NAME of inventor to whom this substitute statement applies:
 (E.g., Given Name (first and middle {if any)) and Family Name or Surname)

James C. Stone
Residence (except for a deceased or legally incapacitated inventor):


citvAddison                                                         State   TX                          Countrv
                                                                                                                    us
Mailing Address (except for a deceased or legally Incapacitated inventor):

 15826 Breedlove


cityAddison                                                         State   TX                                Zio   75001                   Country
                                                                                                                                                           us
 I believe the above-named inventor or joint inventor to be the original inventor or an original joint Inventor of a claimed invention
     in the application.


The above-identified application was made or authorized to be made by me.


I hereby acknowledge that any willful false statement made in this statement is punishable under 18 U.S.C. 1001 by fine or
    imprisonment of not more than five (5) years, or both.
                                                                                            .,




  Relationship to the inventor to whom this substitute statement applies:


       D Legal Representative (for deceased or legally incapacitated Inventor only),
       D Assignee,
       D Person to whom the inventor is under an obligation to assign,
       D Person who otherwise shows a sufficient proprietary interest in the matter (petition under 37 CFR 1.46 is required), or
       [j] Joint Inventor.
                                                                             [Page 1 of 2]
This collection of Information is required by 35 U.S.C. 115 and 37 CFR 1.63. The information is required to obtain or retain a benefit by the public which Is to file (and
by the USPTO to process) an applica!ion. Confidenfiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 1 minute to
complete, Including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any
comments on the amount of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S.
Patent and Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO
THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                         If you need assistance in completing the form, call 1-BOO-PT0-9199 and select option 2.
                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 145 of 201

                                                                                                                                              PTO/SB/AIA02 (07-13)
                                                                                                             Approved for use through 01/31/2014. OMB 0651-0032
                                                                                         U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE




c
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                                                       SUBSTITUTE STATEMENT
                                                                                                                                                                 )
  Circumstances permitting execution of this substitute statement:
        0 Inventor is deceased,
        0 Inventor is under legal incapacity,
        0 Inventor cannot be found or reached after diligent effort, or
       Ii] Inventor has refused to execute the oath or declaration under 37 CFR 1.63.
  If there are joint inventors, please check the appropriate box below:
       Ii] An application data sheet ~nder 37 CFR 1.76 (PTO/AIA/14 or equivalent) naming the entire inventive entity has been
             or Is currently submitted.
        OR
        0 An application data sheet under 37 CFR 1.76 (PTO/AIA/14 or equivalent) has not been submitted. Thus, a Substitute
             Statement Supplemental Sheet (PTO/AIA/11 or equivalent) naming the entire inventive entity and providing inventor
             information is attached. See 37 CFR 1.64(b).

                                                                    WARNING:
Petitioner/applicant is cautioned to avoid submitting personal information in documents filed In a patent application that may
contribute to identity theft. Personal Information such as social security numbers, bank account numbers, or credit card numbers
(other than a check or credit card authorization form PT0-2038 submitted for payment purposes) is never required by the USPTO
to support a petition or an application. If this type of personal Information is Included in documents submitted to the USPTO,
petitioners/applicants should consider redacting such personal information from the documents before submitting them to the
USPTO. Petitioner/applicant is advised that the record of a patent application ls available to the public after publication of the
application (unless a non-publication request in compliance with 37 CFR 1.213(a) Is made in the application) or issuance of a
patent. Furthermore, the record from an abandoned application may also be available to the public if the application is
referenced in a published application or an issued patent (see 37 CFR 1.14). Checks and credit card authorization forms
PT0-2038 submitted for payment purposes are not retained in the application file and therefore are not publicly available.

PERSON EXECUTING THIS SUBSTITUTE STATEMENT:


Name:        Sean Rad                             ....--;>                                                                     Date (Optional):


Signature:
                       -----   /./\._
APPLICANT NAME AND tlTLE OF PERSON EXECUTING THIS SUBSTITUTE STATEMENT:
If the applicant is a juristic entity, list the applicant name and the title of the signer:


Applicant Name:
Title of Person Executing
This Substitute Statement:
1 he sianer, whose title 1s sunnlied above, ts authorized to act on behalf of the aoollcant.
Residence of the signer (unless provided in an application data sheet, PTO/AIA/14 or equivalent):


city   Los Angeles                                              State   CA                         Country    LJS
Mailing Address of the signer (unless provided in an application data sheet, PTO/AIA/14 or equivalent)
2341 Weybridge Lane



citylos         Angeles                            State
                                                                   CA              Zip90077         Country                                 LJS
Note; Use an additional PTO/AIA/02 form for each inventor who is deceased, legally Incapacitated, cannot be found or reached
after diligent effort, or has refused to execute the oath or declaration under 37 CFR 1.63.
                                                                        [Page 2 of2]
     Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 146 of 201




                                        Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection
with your submission of the attached form related to a patent application or patent. Accordingly,
pursuant to the requirements of the Act, please be advised that: ( 1) the general authority for the
collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary;
and (3) the principal purpose for which the Information is used by the U.S. Patent and Trademark
Office is to process and/or examine your submission related to a patent application or patent. If you do
not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or
abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.    The information on this form will be treated confidentially to the extent allowed under the
          Freedom of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from
          this system of records may be disclosed to the Department of Justice to determine whether
          disclosure of these records is required by the Freedom of Information Act.
    2.    A record from this system of records may be disclosed, as a routine use, in the course of
          presenting evidence to a court, magistrate, or administrative tribunal, including disclosures to
          opposing counsel in the course of settlement negotiations.
    3.    A record in this system of records may be disclosed, as a routine use, to a Member of
          Congress submitting a request involving an individual, to whom the record pertains, when the .
          individual has requested assistance from the Member with respect to the subject matter of the
          record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the
         Agency having need for the information in order to perform a contract. Recipients of
          Information shall be required to comply with the requirements of the Privacy Act of 1974, as
          amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application flied under the Patent Cooperation Treaty in
          this system of records may be disclosed, as a routine use, to the International Bureau of the
         World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal
         agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
         the Atomic Energy Act (42 U.S.c. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator,
         General Services, or his/her designee, during an Inspection of records conducted by GSA as
         part of that agency's responsibility to recommend improvements in records management
         practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
         be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not
         be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after
         either publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent
         pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
         CFR 1.14, as a routine use, to the public if the record was filed in an application which
         became abandoned or in which the proceedings were terminated and which application is
         referenced by either a published application, an application open to public inspection or an
         issued patent.
   9.    A record from this system of records may be disclosed, as a routine use, to a Federal, State,
         or local law enforcement agency, If the USPTO becomes aware of a violation or potential
         violation of law or regulation.
              Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 147 of 201
                                    Electronic Acknowledgement Receipt

                       EFSID:                     25741845


                 Application Number:              14059192


          International Application Number:

                Confirmation Number:              1044




                  Title of Invention:             Matching Process System And Method




         First Named Inventor/Applicant Name:     Sean Rad


                  Customer Number:                5073


                         Filer:                   Roshan Suresh Mansinghani/Laurie Scott


                 Filer Authorized By:             Roshan Suresh Mansinghani


              Attorney Docket Number:             076533.0146


                    Receipt Date:                 11-MAY-2016


                     Filing Date:                 21-0CT-2013


                     Time Stamp:                  09:15:01


                  Application Type:               Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
                                                I no
File Listing:
 Document                                                                             File Size(Bytes}/                        Multi         Pages
                     Document Description                File Name
  Number                                                                              Message Digest                          Part /.zip   (if appl.)

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     1                                          0765330146Amend312.PDF                                                           yes           8
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               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 148 of 201
                                                     Multipart Description/PDF files in .zip description

                                         Document Description                                               Start                             End


                              Amendment after Notice of Allowance (Rule 312)                                    1                              1



                                                     Claims                                                     2                              7



                          Applicant Arguments/Remarks Made in an Amendment                                      8                              8


Warnings:
Information:

                                                                                                           539813
       2                 Application Data Sheet                 0765330146CorADS.PDF                                                     no         8
                                                                                             7534e01614343170fff5da63d0f216a2d9b0
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Warnings:
Information:

This is not an USPTO supplied ADS fillable form

                                                                                                           108318
       3                 Oath or Declaration filed                0765330146Dec.PDF                                                      no         6
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Warnings:
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Warnings:
Information:
                                                               Total Files Size (in bytes)                                     1288414


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                       Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 149 of 201

                     UNITED STAIBS p AIBNT AND TRADEMARK OFFICE
                                                                                                      UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                      United States Patent and Trademark Office
                                                                                                      Address: COMMISSIONER FOR PATENTS
                                                                                                             P.O. Box 1450
                                                                                                             Alexandria, Virginia 22313-1450
                                                                                                             www.uspto.gov



                                    NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                             EXAMINER
        5073           7590          03/31/2016
   BAKER BOTTS L.L.P.                                                                                                    CHOI, YUK TING
   2001 ROSS AVENUE
   SUITE 600                                                                                                ART UNIT                      PAPER NUMBER

   DALLAS, TX 75201-2980                                                                                       2164

                                                                                                    DATE MAILED: 03/31/2016



   APPLICATION NO.            FILING DATE                     FIRST NAMED INVENTOR                   ATTORNEY DOCKET NO.                CONFIRMATION NO.

       14/059,192              10/21/2013                           Sean Rad                                076533.0146                         1044
TITLE OF INVENTION: Matching Process System And Method




    APPLN. TYPE          ENTITY STATUS        ISSUE FEE DUE   PUBLICATION FEE DUE    PREV. PAID ISSUE FEE    TOTAL FEE(S) DUE                  DATEDUE

    nonprovisional      UNDISCOUNTED              $960                 $0                     $0                      $960                     06/30/2016

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED.            THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity status still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



IL PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
Mail Stop ISSUE FEE unless advised to the contrary.
IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance fees when due.

                                                                  Page 1of3
PTOL-85 (Rev. 02/11)
                        Case 6:21-cv-00147-ADA  Document
                                             PART B - FEE(S)15-9 Filed 04/22/21 Page 150 of 201
                                                            TRANSMITTAL
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                  or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                              Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                              Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)               papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmission.

                                                                                                                         Certificate of Mailing or Transmission
         5073             7590               03/31/2016                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    BAKER BOTTS L.L.P.                                                                               States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    2001 ROSS AVENUE                                                                                 transmitted to the USPTO (571) 273-2885, on the date indicated below.
    SUITE 600
                                                                                                                                                                       (Depositor's name)
    DALLAS, TX 75201-2980
                                                                                                                                                                              (Signature)

                                                                                                                                                                                   (Date)




    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                                 ATTORNEY DOCKET NO.        CONFIRMATION NO.

        14/059,192                   10/21/2013                                      Sean Rad                                        076533.0146                     1044
TITLE OF INVENTION: Matching Process System And Method


     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE         PUBLICATION FEE DUE          PREV. PAID ISSUE FEE         TOTAL FEE(S) DUE            DATEDUE

    nonprovisional         UNDISCOUNTED                      $960                        $0                          $0                      $960                  06/30/2016



                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

                CHOI, YUK TING                               2164                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).
                                                                                ( 1) The names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/SB/122) attached.
                                                                                (2) The name of a single firm (having as a member a
   0 "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is
   Number is required.                                                          listed, no name will be printed.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)




Please check the appropriate assignee category or categories (will not be printed on the patent) :    0 Individual 0 Corporation or other private group entity 0 Government
4a. The following fee(s) are submitted:                                   4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   0 Issue Fee                                                               0 A check is enclosed.
   0 Publication Fee (No small entity discount permitted)                    0 Payment by credit card. Form PT0-2038 is attached.
   0 Advance Order - #of Copies _ _ _ _ _ _ _ _ __                           0 The director is hereby authorized to charge the required fee( s), any deficiency, or credits any
                                                                                 overpayment, to Deposit Account Number                        (enclose an extra copy of this form).

5. Change in Entity Status (from status indicated above)
   0 Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
                                                                             fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
   0 Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                             to be a notification of loss of entitlement to micro entity status.
   0 Applicant changing to regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                             entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31and1.33. See 37 CFR 1.4 for signature requirements and certifications.


   Authorized Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Typed or printed name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                 Page 2 of3
PTOL-85 Part B (10-13) Approved for use through 10/31/2013.                     OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                       Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 151 of 201

                    UNITED STAIBS p AIBNT AND TRADEMARK OFFICE
                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
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                                                                                        P.O. Box 1450
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   APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.               CONFIRMATION NO.

       14/059,192              10/21/2013                  Sean Rad                   076533.0146                         1044

                                                                                                       EXAMINER
        5073           7590          03/31/2016
   BAKER BOTTS L.L.P.                                                                               CHOI, YUK TING
   2001 ROSS AVENUE
   SUITE 600                                                                           ART UNIT                      PAPER NUMBER

   DALLAS, TX 75201-2980                                                                  2164

                                                                                DATE MAILED: 03/31/2016




                              Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                         (Applications filed on or after May 29, 2000)

The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.

Section l(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the
requirement that the Office provide a patent term adjustment determination with the notice of allowance. See
Revisions to Patent Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer
providing an initial patent term adjustment determination with the notice of allowance. The Office will continue to
provide a patent term adjustment determination with the Issue Notification Letter that is mailed to applicant
approximately three weeks prior to the issue date of the patent, and will include the patent term adjustment on the
patent. Any request for reconsideration of the patent term adjustment determination (or reinstatement of patent term
adjustment) should follow the process outlined in 37 CPR 1.705.


Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571 )-272-4200.




                                                         Page 3 of 3
PTOL-85 (Rev. 02/11)
             Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 152 of 201
                                                           Application No.                   ~pplicant(s)
                                                           14/059,192                        Sean Rad
     Notice Requiring Inventor's Oath or
                Declaration                                Examiner                          ~rt Unit
                                                           CHOI, YUK TING                    Ql64




This notice is an attachment to the Notice of Allowability (PTOL-37), or the Notice of Allowability For A Design
Application (PTOL-37D).
An inventor's oath or declaration in compliance with 37 CPR 1.63 or 1.64 executed by or with respect to each
inventor has not yet been submitted.
An oath or declaration in compliance with 37 CPR 1.63, or a substitute statement in compliance with 37 CPR
1.64, executed by or with respect to each inventor (for any inventor for which a compliant oath, declaration, or
substitute statement has not yet been submitted) MUST be filed no later than the date on which the issue fee is
paid. See 35 U.S.C. 115(f). Failure to timely comply will result in ABANDONMENT of this application.
A properly executed inventor's oath to declaration has not been received for the following inventor(s):

If applicant previously filed one or more oaths, declarations, or substitute statements, applicant may have received
an informational notice regarding deficiencies therein.
The following deficiencies are noted:
INFORMAL ACTION PROBLEMS
  •A properly executed inventor's oath or declaration has not been received for the following inventor(s): Sean
   Rad, Todd M. Carrico, Kenneth B Hoskins, and James C. Stone.
   Applicant may submit the inventor's oath or declaration at any time before the Notice of Allowance and
   Fee(s) Due, PTOL-85, is mailed.
Questions relating to this Notice should be directed to the Application Assistance Unit at 571-272-4200.




U.S. Patent and Trademark Office
PT0-2306 (01-13)
                                           Notice Requiring Inventor's Oath or Declaration
      Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 153 of 201

                  OMB Clearance and PRA Burden Statement for PTOL-85 Part B

The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and
Budget approval before requesting most types of information from the public. When OMB approves an agency
request to collect information from the public, OMB (i) provides a valid OMB Control Number and expiration
date for the agency to display on the instrument that will be used to collect the information and (ii) requires the
agency to inform the public about the OMB Control Number's legal significance in accordance with 5 CFR
1320.5(b).

The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary
depending upon the individual case. Any comments on the amount of time you require to complete this form
and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT
SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box
1450, Alexandria, Virginia 22313-1450. Under the Paperwork Reduction Act of 1995, no persons are required to
respond to a collection of information unless it displays a valid OMB control number.

                                           Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
related to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and
Trademark Office may not be able to process and/or examine your submission, which may result in termination of
proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:
  1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
     Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
     may be disclosed to the Department of Justice to determine whether disclosure of these records is required
     by the Freedom of Information Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
     to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
     settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
     request involving an individual, to whom the record pertains, when the individual has requested assistance
     from the Member with respect to the subject matter of the record.
 4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
     need for the information in order to perform a contract. Recipients of information shall be required to
     comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
     records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
     Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
     of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
     218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General
     Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
     responsibility to recommend improvements in records management practices and programs, under authority
     of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations
     governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive.
     Such disclosure shall not be used to make determinations about individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after either publication
     of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
     record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the
     record was filed in an application which became abandoned or in which the proceedings were terminated
     and which application is referenced by either a published application, an application open to public
     inspection or an issued patent.
 9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
     enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
                         Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 154 of 201

                                                                         Application No.                       Applicant(s)
                                                                         14/059, 192                           RAD ET AL.
                                                                         Examiner                              Art Unit        AIA (First Inventor to File)
                        Notice of Allowability                                                                                 Status
                                                                         YUK TING CHOI                         2164
                                                                                                                               No

             -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.

1. ~This communication is responsive to 0310212016.
        DA declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on ___.

2. D An election was made by the applicant in response to a restriction requirement set forth during the interview on _ _ ;the restriction
     requirement and election have been incorporated into this action.

3. ~The allowed claim(s) is/are 23. 25. 26. 30. 32. 33. 37. 39 and 40. As a result of the allowed claim(s), you may be eligible to benefit
     from the Patent Prosecution Highway program at a participating intellectual property office for the corresponding application. For
     more information, please see httQ://www.us12to.gov/12atents/init events/g.Qh/index.isQ or send an inquiry to PPHfeedback(cvusoto.gov .

4. D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
          a) D All           b) D Some    *c) D None of the:
                   1. D Certified copies of the priority documents have been received.
                  2. D Certified copies of the priority documents have been received in Application No. _ _ .
                  3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                           International Bureau (PCT Rule 17.2(a)).
         * Certified copies not received: _ _ .


  Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
  noted below. Failure to timely comply will result in ABANDONMENT of this application.
  THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
5. D CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
         D     including changes required by the attached Examiner's Amendment I Comment or in the Office action of
               Paper No./Mail Date _ _ .
     Identifying indicia such as the application number {see 37 CFR 1 .84{c)) should be written on the drawings in the front {not the back) of
     each sheet. Replacement sheet{s) should be labeled as such in the header according to 37 CFR 1.121{d).

6. 0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
    attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


Attachment(s)
1. D Notice of References Cited (PT0-892)                                         5. D Examiner's Amendment/Comment
2. D Information Disclosure Statements (PTO/SB/08),                                6. ~ Examiner's Statement of Reasons for Allowance
      Paper No./Mail Date _ _
3. D Examiner's Comment Regarding Requirement for Deposit                          7. D Other _ _ .
      of Biological Material
4. D Interview Summary (PT0-413),
      Paper No./Mail Date _ _ .
 /YUK TING CHOI/
 Primary Examiner, Art Unit 2164




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                   Notice of Allowability                          Part of Paper No./Mail Date
20160317
     Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 155 of 201


Application/Control Number: 14/059, 192                                                     Page 2
Art Unit: 2164

                                      DETAILED ACTION

1.     This office action is in response to applicant's response that is filed on 03/02/2016 in

response to PTO Office Action mailed on 12/09/2015. In response to the previous Office Action,

Claims 23, 30 and 37 have been amended. Claims 27, 28, 34, 35, 41 and 42 are canceled. In

this office action, claims 23, 25, 26, 30, 32, 33, 37, 39 and 40 are pending.




                              Reason for Allowance

2.      The following is an examiner's statement of reasons for allowance:

The closest cited references in the record fail to anticipate or render obvious the recited

features in the instant claims 23, 30 and 37. The cited references do not explicitly

disclose determining a first user expressed a negative preference indication regarding a

potential match performed by the first user using a second swiping gesture different

than the first swiping gesture, preventing communication between the first user and the

third user in response to determine that the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference response indication regarding the first user; and preventing

communication between the first user and the fourth user in response to determining

that the fourth user has expressed a negative preference indication regarding the first

user even though the first user has expressed a positive preference indication regarding

on the fourth user in order to identify and to evaluate suitable candidates efficiently, as

recited in the claims 23, 30 and 37.
     Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 156 of 201


Application/Control Number: 14/059, 192                                             Page 3
Art Unit: 2164

Any comments considered necessary by applicant must be submitted no later than the

payment of the issue fee and, to avoid processing delays, should preferably accompany

the issue fee. Such submissions should be clearly labeled" Comments on Statement of

Reason for Allowance."




                                  Contact Information

Any inquiry concerning this communication or earlier communications from the

examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

1637. The examiner can normally be reached on 9:30 AM - 6:00 PM EST.

If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Christyann Pulliam can be reached on (571) 270-1007. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.

Information regarding the status of an application may be obtained from the Patent

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/YUK TING CHOI/

Primary Examiner, Art Unit 2164
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                                           Application/Control No.                    Applicant( s)/Patent Under
                                                                                      Reexamination
           Search Notes                    14059192                                   RAD ET AL.

                                           Examiner                                   Art Unit

                                           YUK TING CHOI                              2164




                                                   CPC-SEARCHED

                         Symbol                                                   I         Date        I        Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386                                      I      3/17/2016      I          YC

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 search, see attached search history
 Inventor and Assignee search                                                            3/17/2016          YC
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                                              INTERFERENCE SEARCH

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                                                               Primary Examiner.Art Unit 2164




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                                              Application/Control No.       Applicant(s)/Patent Under Reexamination

 Issue Classification                         14059192                      RAD ET AL.

                                              Examiner                      Art Unit

                                              YUK TING CHOI                 2164


 CPC
 Symbol                                                                                             Type                    Version

 G06F          ii]] 17             rn 30554                                                   F                        2013-01-01

 G06F          ii]] 17             rn 30657                                                                            2013-01-01

 G06Q          ii]] 10             rn 10                                                                               2013-01-01

 G06Q          ii]] 30             rn   02                                                                             2013-01-01

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 NONE
                                                                                                      Total Claims Allowed:

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 (Assistant Examiner)                                                    (Date)
 /YUK TING CHOI/
 Primary Examiner.Art Unit 2164                                         3/17/2016            O.G. Print Claim(s)        O.G. Print Figure

 (Primary Examiner)                                                      (Date)                      23                     Figure 6

U.S. Patent and Trademark Office                                                                               Part of Paper No. 20160317
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                                        Application/Control No.                         Applicant(s)/Patent Under Reexamination

 Issue Classification                   14059192                                        RAD ET AL.

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                                        YUK TING CHOI                                   2164



                US ORIGINAL CLASSIFICATION                                      INTERNATIONAL CLASSIFICATION
                CLASS                     SUBCLASS                            CLAIMED                                     NON-CLAIMED
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                      CROSS REFERENCE(S)

  CLASS              SUBCLASS {ONE SUBCLASS PER BLOCK)




 NONE
                                                                                                                     Total Claims Allowed:

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 (Assistant Examiner)                                                             (Date)
 /YUK TING CHOI/
 Primary Examiner.Art Unit 2164                                                  3/17/2016                  O.G. Print Claim(s)       O.G. Print Figure

 (Primary Examiner)                                                               (Date)                            23                    Figure 6

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                                                      Application/Control No.                             Applicant(s)/Patent Under Reexamination
 Issue Classification                                 14059192                                            RAD ET AL.

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                                                      YUK TING CHOI                                       2164



 D         Claims renumbered in the same order as presented by applicant                   D         CPA           D      T.D.            D       R.1.47

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 NONE
                                                                                                                                     Total Claims Allowed:

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 (Assistant Examiner)                                                                                (Date)
 /YUK TING CHOI/
 Primary Examiner.Art Unit 2164                                                                    3/17/2016                O.G. Print Claim(s)          O.G. Print Figure

 (Primary Examiner)                                                                                  (Date)                         23                       Figure 6

U.S. Patent and Trademark Office                                                                                                                 Part of Paper No. 20160317
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                                                                                                                                                 PTO/SB/30 (07-09)
                                                                                                             Approved for use through 07/31/2012. OMB 0651-0031
                                                                                        U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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r                  Request                                                  Application Number                     14/059,192

                     for                                                                                           October 21, 2013
                                                                            Filinq Date
         Continued Examination (RCE)
                                                                                                                   Sean Rad
                 Transmittal                                                First Named Inventor
    Address to:                                                                                                    2164; Confirmation No. 1044
                                                                            Art Unit
    Mail Stop RCE
    Commissioner for Patents                                                Examiner Name                          Yuk Ting Choi
    P.O. Box 1450
    Alexandria, VA 22313-1450                                               Attorney Docket Number                 076533.0146

This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
1995, or to any design application. See Instruction Sheet for RCEs (not to be submitted to the USPTO) on page 2.

    1.    ISubmission reauired under 37 CFR 1.114l Note: If the RCE is proper, any previously filed unentered amendments and
          amendments enclosed with the RCE will be entered in the order in which they were filed unless applicant instructs otherwise. If
          applicant does not wish to have any previously filed unentered amendment(s) entered, applicant must request non-entry of such
          amendment(s).

          a.   [{]     Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be
                       considered as a submission even if this box is not checked.

                i.
                       D     Consider the arguments in the Appeal Brief or Reply Brief previously filed on

                Ii.    [ZJ Other Response to Office Action Pursuant to 37 C.F.R. § 1.116 filed February 9, 2016
          b.   D       Enclosed

                I.  D        AmendmenUReply                                           iii.   D       Information Disclosure Statement (IDS)

                ii. D        Affidavit(s)/ Declaration(s)                             iv.
                                                                                             D       Other

2.       (Miscellaneous]
                        Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a
          a.   D        period of          months. (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1.17(i) required)
          b.   D        Other


3.       [Fees]         The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
                        The Director is hereby authorized to charge the following fees, any underpayment of fees, or credit any overpayments, to
          a.   [{]      Deposit Account No. 02-0384

                i.     [{] RCE fee required under 37 CFR 1.17(e)
               ii.     D     Extension of time fee (37 CFR 1.136 and 1.17)

               iii.    D        Other

          b.
               D        Check in the amount of $                                                     enclosed

          c.
               D        Payment by credit card (Form PT0-2038 enclosed)
WARNING: Information on this form may become public. Credit card information should not be included on this form. Provide credit
card information and authorization on PT0-2038.

                                  ~
                                        _SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED
Signature                  ./           "'/                                       Date                    I                       IMarch 2, 2016
Name (Print/Type)          Roshan S. Mansinghani                                  Registration No.        I                       162429

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                                                      Instruction Sheet for RCEs
                                                          (not to be submitted to the USPTO)




                                                                       NOTES:

An RCE is not a new application, and filing an RCE will not result in an application being accorded a new filing
date.

Filing Qualifications:
The application must be a utility or plant application filed on or after June 8, 1995. The application cannot be a provisional
application, a utility or plant application filed before June 8, 1995, a design application, or a patent under reexamination. See
37CFR1.114(e).

Filing Requirements:
Prosecution in the application must be closed. Prosecution is closed if the applicat ion is under appeal, or the last Office
action is a final action, a notice of allowance, or an action that otherwise closes prosecution in the application (e.g., an Office
action under Ex parte Quayle). See 37 CFR 1.114(b).

A submission and a fee are required at the time the RCE is filed. If reply to an Office action under 35 U.S.C. 132 is
outstanding (e.g., the application is under final rejection), the submission must meet the reply requirements of 37 CFR 1.111. If
there is no outstanding Office action, the submission can be an information disclosure statement, an amendment, new
arguments, or new evidence. See 37 CFR 1.114(c). The submission may be a previously filed amendment (e.g., an
amendment after final rejection).




                                                                   WARNINGS:

Request for Suspension of Action:
All RCE filing requirements must be met before suspension of action is granted. A request for a suspension of
action under 37 C FR 1. 103(c) do es not satisfy the submission requirement and does not permit the filing of the
required submission to be suspended.

Improper RCE will NOT toll Any Time Period:

Before Appeal - If the RCE is improper (e.g., prosecution in the application is not closed or the submission or
fee has not been filed) and the application is not under appeal, the time period set forth in the last Office action
will continue to run and the application will be abandoned after the statutory time period has expired if a reply to
the Office action is not timely filed. No additional time will be given to correct the improper RCE.

Under Appeal - If the RCE is improper (e.g., the submission or the fee has not been filed) and the application is
under appeal, the improper RCE is effective to withdraw the appeal. Withdrawal of the appeal results in the
allowance or abandonment of the application depending on the status of the clai ms. If there are no allowed
claims, the application is abandoned. If there is at least one allowed claim, the application will be passed to issue
on the allowed claim(s). See MPEP 1215.01.



                              See MPEP 706.07(h) for further information on the RCE practice.



                                                                        Page 2 of 2
   Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 169 of 201



                                        Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection
with your submission of the attached form related to a patent application or patent. Accordingly,
pursuant to the requirements of the Act, please be advised that: (1) the general authority for the
collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary;
and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark
Office is to process and/or examine your submission related to a patent application or patent. If you do
not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or
abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the
         Freedom of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from
         this system of records may be disclosed to the Department of Justice to determine whether
         disclosure of these records is required by the Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of
         presenting evidence to a court, magistrate, or administrative tribunal, including disclosures to
         opposing counsel in the course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of
         Congress submitting a request involving an individual, to whom the record pertains, when the
         individual has requested assistance from the Member with respect to the subject matter of the
         record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the
         Agency having need for the information in order to perform a contract. Recipients of
         information shall be required to comply with the requirements of the Privacy Act of 1974, as
         amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in
         this system of records may be disclosed, as a routine use, to the International Bureau of the
         World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal
         agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
         the Atomic Energy Act (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator,
         General Services, or his/her designee, during an inspection of records conducted by GSA as
         part of that agency's responsibility to recommend improvements in records management
         practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
         be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not
         be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after
         either publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent
         pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
         CFR 1.14, as a routine use, to the public if the record was filed in an application which
         became abandoned or in which the proceedings were terminated and which application is
         referenced by either a published application, an application open to public inspection or an
         issued patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State,
         or local law enforcement agency, if the USPTO becomes aware of a violation or potential
         violation of law or regulation.
                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 170 of 201



                             Electronic Patent Application Fee Transmittal
 Application Number:                            14059192


 Filing Date:                                   21-0ct-2013




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Roshan Suresh Mansinghani/Laurie Scott


 Attorney Docket Number:                        076533.0146


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                  Sub-Total in
                         Description                   Fee Code        Quantity          Amount
                                                                                                    USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 171 of 201
                                                                                    Sub-Total in
                      Description               Fee Code      Quantity     Amount
                                                                                      USO($)


Miscellaneous:


            Request for Continued Examination     1801           1          1200        1200


                                                         Total in USO($)            1200
               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 172 of 201
                                       Electronic Acknowledgement Receipt

                           EFSID:                         25081093


                  Application Number:                     14059192


           International Application Number:

                 Confirmation Number:                     1044




                    Title of Invention:                   Matching Process System And Method




          First Named Inventor/Applicant Name:            Sean Rad


                   Customer Number:                       5073


                            Filer:                        Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                   Roshan Suresh Mansinghani


               Attorney Docket Number:                    076533.0146


                       Receipt Date:                      02-MAR-2016


                        Filing Date:                      21-0CT-2013


                       Time Stamp:                        16:19:58


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
                                                        I no
File Listing:
 Document                                                                                    File Size(Bytes}/                  Multi         Pages
                       Document Description                      File Name
  Number                                                                                     Message Digest                    Part /.zip   (if appl.)

                                                                                                      239734
                   Request for Continued Examination   0765330146RCETrans030216.
      1                                                                                                                           no            3
                                 (RCE)                            PDF
                                                                                         289182c31f045362Sbfa68932decb192177
                                                                                                        0717d


Warnings:

This is not a USPTO supplied RCE SB30 form.
               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 173 of 201
Information:

                                                                                                  30097
     2                Fee Worksheet (SB06)                  fee-info.pdf                                                      no   2
                                                                                   94ad0799c1 bf3a5c3a6954acce953a5ad37
                                                                                                    5339


Warnings:
Information:
                                                     Total Files Size (in bytes)                                     269831


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                      Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 174 of 201
                                                                                                                                                 PTO/SB/30 (07-09)
                                                                                                             Approved for use through 07/31/2012. OMB 0651-0031
                                                                                        U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
         Under the Panerwork Reduction Act of 1995 no nerson« are renuired to resnond to a collection nf information unless it contains a valid OMB contrnl number.
r                  Request                                                  Application Number                     14/059,192

                     for                                                                                           October 21, 2013
                                                                            Filinq Date
         Continued Examination (RCE)
                                                                                                                   Sean Rad
                 Transmittal                                                First Named Inventor
    Address to:                                                                                                    2164; Confirmation No. 1044
                                                                            Art Unit
    Mail Stop RCE
    Commissioner for Patents                                                Examiner Name                          Yuk Ting Choi
    P.O. Box 1450
    Alexandria, VA 22313-1450                                               Attorney Docket Number                 076533.0146

This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
1995, or to any design application. See Instruction Sheet for RCEs (not to be submitted to the USPTO) on page 2.

    1.    ISubmission reauired under 37 CFR 1.114l Note: If the RCE is proper, any previously filed unentered amendments and
          amendments enclosed with the RCE will be entered in the order in which they were filed unless applicant instructs otherwise. If
          applicant does not wish to have any previously filed unentered amendment(s) entered, applicant must request non-entry of such
          amendment(s).

          a.   [{]     Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be
                       considered as a submission even if this box is not checked.

                i.
                       D     Consider the arguments in the Appeal Brief or Reply Brief previously filed on

                Ii.    [ZJ Other Response to Office Action Pursuant to 37 C.F.R. § 1.116 filed February 9, 2016
          b.   D       Enclosed

                I.  D        AmendmenUReply                                           iii.   D       Information Disclosure Statement (IDS)

                ii. D        Affidavit(s)/ Declaration(s)                             iv.
                                                                                             D       Other

2.       (Miscellaneous]
                        Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a
          a.   D        period of          months. (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1.17(i) required)
          b.   D        Other


3.       [Fees]         The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
                        The Director is hereby authorized to charge the following fees, any underpayment of fees, or credit any overpayments, to
          a.   [{]      Deposit Account No. 02-0384

                i.     [{] RCE fee required under 37 CFR 1.17(e)
               ii.     D     Extension of time fee (37 CFR 1.136 and 1.17)

               iii.    D        Other

          b.
               D        Check in the amount of $                                                     enclosed

          c.
               D        Payment by credit card (Form PT0-2038 enclosed)
WARNING: Information on this form may become public. Credit card information should not be included on this form. Provide credit
card information and authorization on PT0-2038.

                                  ~
                                        _SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED
Signature                  ./           "'/                                       Date                    I                       IMarch 2, 2016
Name (Print/Type)          Roshan S. Mansinghani                                  Registration No.        I                       162429

                                                      CERTIFICATE OF MAILING OR TRANSMISSION
I hereby certify that this correspondence is being deposited with the United States Postal Service with sufficient postage as first class mail in an envelope
addressed to: Mail Stop RCE, Commissioner for Patents, P. 0. Box 1450, Alexandria, VA 22313-1450 or facsimile transmitted to the U.S. Patent and Trademark
Office on the date shown below.
Signature
                       I
Name (Print/Type) I                                                                                      I Date
This collection of information 1s required by 37 CFR 1.114. The information 1s required to obtain or retain a benefit by the public which 1s to file (and by the USPTO
to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on
the amount of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SE ND FEES OR COMPLETED FORMS TO THIS
ADDRESS. SEND TO: Mail Stop RCE, Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.
                                 If you need assistance in completing the form, call 1-800-PT0-9199 and select option 2.
             Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 175 of 201
                                                                                                                                             PTO/SB/30 (07-09)
                                                                                                         Approved for use through 07/31/2012. OMB 0651-0031
                                                                                    U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
    Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.




                                                      Instruction Sheet for RCEs
                                                          (not to be submitted to the USPTO)




                                                                       NOTES:

An RCE is not a new application, and filing an RCE will not result in an application being accorded a new filing
date.

Filing Qualifications:
The application must be a utility or plant application filed on or after June 8, 1995. The application cannot be a provisional
application, a utility or plant application filed before June 8, 1995, a design application, or a patent under reexamination. See
37CFR1.114(e).

Filing Requirements:
Prosecution in the application must be closed. Prosecution is closed if the applicat ion is under appeal, or the last Office
action is a final action, a notice of allowance, or an action that otherwise closes prosecution in the application (e.g., an Office
action under Ex parte Quayle). See 37 CFR 1.114(b).

A submission and a fee are required at the time the RCE is filed. If reply to an Office action under 35 U.S.C. 132 is
outstanding (e.g., the application is under final rejection), the submission must meet the reply requirements of 37 CFR 1.111. If
there is no outstanding Office action, the submission can be an information disclosure statement, an amendment, new
arguments, or new evidence. See 37 CFR 1.114(c). The submission may be a previously filed amendment (e.g., an
amendment after final rejection).




                                                                   WARNINGS:

Request for Suspension of Action:
All RCE filing requirements must be met before suspension of action is granted. A request for a suspension of
action under 37 C FR 1. 103(c) do es not satisfy the submission requirement and does not permit the filing of the
required submission to be suspended.

Improper RCE will NOT toll Any Time Period:

Before Appeal - If the RCE is improper (e.g., prosecution in the application is not closed or the submission or
fee has not been filed) and the application is not under appeal, the time period set forth in the last Office action
will continue to run and the application will be abandoned after the statutory time period has expired if a reply to
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Under Appeal - If the RCE is improper (e.g., the submission or the fee has not been filed) and the application is
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on the allowed claim(s). See MPEP 1215.01.



                              See MPEP 706.07(h) for further information on the RCE practice.



                                                                        Page 2 of 2
   Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 176 of 201



                                        Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection
with your submission of the attached form related to a patent application or patent. Accordingly,
pursuant to the requirements of the Act, please be advised that: (1) the general authority for the
collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary;
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Office is to process and/or examine your submission related to a patent application or patent. If you do
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The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the
         Freedom of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from
         this system of records may be disclosed to the Department of Justice to determine whether
         disclosure of these records is required by the Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of
         presenting evidence to a court, magistrate, or administrative tribunal, including disclosures to
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    5.   A record related to an International Application filed under the Patent Cooperation Treaty in
         this system of records may be disclosed, as a routine use, to the International Bureau of the
         World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal
         agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
         the Atomic Energy Act (42 U.S.C. 218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator,
         General Services, or his/her designee, during an inspection of records conducted by GSA as
         part of that agency's responsibility to recommend improvements in records management
         practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
         be made in accordance with the GSA regulations governing inspection of records for this
         purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not
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         pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
         CFR 1.14, as a routine use, to the public if the record was filed in an application which
         became abandoned or in which the proceedings were terminated and which application is
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    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State,
         or local law enforcement agency, if the USPTO becomes aware of a violation or potential
         violation of law or regulation.
                 Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 177 of 201



                             Electronic Patent Application Fee Transmittal
 Application Number:                            14059192


 Filing Date:                                   21-0ct-2013




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Roshan Suresh Mansinghani/Laurie Scott


 Attorney Docket Number:                        076533.0146


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                  Sub-Total in
                         Description                   Fee Code        Quantity          Amount
                                                                                                    USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 178 of 201
                                                                                    Sub-Total in
                      Description               Fee Code      Quantity     Amount
                                                                                      USO($)


Miscellaneous:


            Request for Continued Examination     1801           1          1200        1200


                                                         Total in USO($)            1200
             Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 179 of 201
                                      Electronic Acknowledgement Receipt

                         EFSID:                                25081296


                  Application Number:                          14059192


         International Application Number:

                  Confirmation Number:                         1044




                    Title of Invention:                        Matching Process System And Method




       First Named Inventor/Applicant Name:                    Sean Rad


                   Customer Number:                            5073


                           Filer:                              Roshan Suresh Mansinghani/Laurie Scott


                   Filer Authorized By:                        Roshan Suresh Mansinghani


               Attorney Docket Number:                         076533.0146


                      Receipt Date:                            02-MAR-2016


                       Filing Date:                            21-0CT-2013


                      Time Stamp:                              16:27:20


                    Application Type:                          Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                         yes

Payment Type                                                  Deposit Account

Payment was successfully received in RAM                      $1200

RAM confirmation Number                                        2923

Deposit Account                                                020384

Authorized User                                                BAKER & BOTIS, LLP

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 CFR 1.16 (National application filing, search, and examination fees)

      Charge any Additional Fees required under 37 CFR 1.17 (Patent application and reexamination processing fees)
               Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 180 of 201




File Listing:
 Document                                                                                  File Size(Bytes}/                  Multi         Pages
                       Document Description                    File Name
  Number                                                                                   Message Digest                    Part /.zip   (if appl.)

                                                                                                    239734
                   Request for Continued Examination   0765330146RCETrans030216.
      1                                                                                                                          no           3
                                 (RCE)                            PDF
                                                                                      289182c31f045362Sbfa68932decb192177
                                                                                                     0717d


Warnings:

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Information:

                                                                                                     30096
      2                   Fee Worksheet (SB06)                 fee-info.pdf                                                      no           2
                                                                                      26823f34006fbac26919f753e6d40c41246d
                                                                                                      7fbd


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New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 181 of 201
                    UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                              UNITED STATES DEPARTMENT OF COMMERCE
                                                                              United States Patent and Trademark Office
                                                                              Address: COMMISSIONER FOR PATENTS
                                                                                    P.O. Box 1450
                                                                                    Alexandria, Virginia 22313-1450
                                                                                    www .uspto.gov




   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              076533.0146                         1044

       5073             7590             02/18/2016
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2164


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   02/18/2016                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                 Case 6:21-cv-00147-ADA Document     15-9
                                            Application No. Filed 04/22/21   Page 182 of 201
                                                                         Applicant(s)
                Advisory Action             141059, 192                  RAD ET AL.
       Before the Filing of an Appeal Brief Examiner                     Art Unit     AIA (First Inventor to File) Status        I
                                                                        YUK TING CHOI                             2164               No

                   --The MAILING DATE of this communication appears on the cover sheet with the correspondence address --
 THE REPLY FILED 09 February 2016 FAILS TO PLACE THIS APPLICATION IN CONDITION FOR ALLOWANCE.
 NO NOTICE OF APPEAL FILED
 1. 1:8:1 The reply was filed after a final rejection. No Notice of Appeal has been filed. To avoid abandonment of this application, applicant must timely file one
          of the following replies: (1) an amendment, affidavit, or other evidence, which places the application in condition for allowance;
          (2) a Notice of Appeal (with appeal fee) in compliance with 37 CFR 41.31; or (3) a Request for Continued Examination (RCE) in compliance with 37
          CFR 1.114 if this is a utility or plant application. Note that RCEs are not permitted in design applications. The reply must be filed within one of the
          following time periods:
    a)    D    The period for reply expires _ _ months from the mailing date of the final rejection.
    b) [gl The period for reply expires on: (1) the mailing date of this Advisory Action; or (2) the date set forth in the final rejection, whichever is later.     In
               no event, however, will the statutory period for reply expire later than SIX MONTHS from the mailing date of the final rejection.
    c)    D      A prior Advisory Action was mailed more than 3 months after the mailing date of the final rejection in response to a first after-final reply filed
               within 2 months of the mailing date of the final rejection. The current period for reply expires        months from the mailing date of
                the prior Advisory Action or SIX MONTHS from the mailing date of the final rejection, whichever is earlier.
                       Examiner Note: If box 1 is checked, check either box (a), (b) or (c). ONLY CHECK BOX (b) WHEN THIS ADVISORY ACTION IS THE
                       FIRST RESPONSE TO APPLICANT'S FIRST AFTER-FINAL REPLY WHICH WAS FILED WITHIN TWO MONTHS OF THE FINAL
                       REJECTION. ONLY CHECK BOX (c) IN THE LIMITED SITUATION SET FORTH UNDER BOX (c). See MPEP 706.07(f).
 Extensions of time may be obtained under 37 CFR 1.136(a). The date on which the petition under 37 CFR 1.136(a) and the appropriate extension
 fee have been filed is the date for purposes of determining the period of extension and the corresponding amount of the fee. The appropriate
 extension fee under 37 CFR 1.17(a) is calculated from: (1) the expiration date of the shortened statutory period for reply originally set in the final
 Office action; or (2) as set forth in (b) or (c) above, if checked. Any reply received by the Office later than three months after the mailing date of the
 final rejection, even if timely filed, may reduce any earned patent term adjustment. See 37 CFR 1.704(b).
 NOTICE OF APPEAL
 2.   D   The Notice of Appeal was filed on _ _ . A brief in compliance with 37 CFR 41.37 must be filed within two months of the date of filing the
          Notice of Appeal (37 CFR 41.37(a)), or any extension thereof (37 CFR 41.37(e)), to avoid dismissal of the appeal. Since a Notice of Appeal
          has been filed, any reply must be filed within the time period set forth in 37 CFR 41.37(a).
 AMENDMENTS
 3. [gl The proposed amendments filed after a final rejection, but prior to the date of filing a brief, will not be entered because
        a) [gl They raise new issues that would require further consideration and/or search (see NOTE below);
        b)    DThey raise the issue of new matter (see NOTE below);
        c)    DThey are not deemed to place the application in better form for appeal by materially reducing or simplifying the issues for
               appeal; and/or
        d)    DThey present additional claims without canceling a corresponding number of finally rejected claims.
                NOTE: _ _ . (See 37 CFR 1.116 and 41.33(a)).
 4.   D The amendments are not in compliance with 37 CFR 1.121. See attached Notice of Non-Compliant Amendment (PTOL-324).
 5. D Applicant's reply has overcome the following rejection(s): _ _ .
 6. D Newly proposed or amended claim(s) _ _ would be allowable if submitted in a separate, timely filed amendment canceling the non-
          allowable claim(s).
 7. 1:8:1 For purposes of appeal, the proposed amendment(s): (a) 1:8:1 will not be entered, or (b) D will be entered, and an explanation of how the
          new or amended claims would be rejected is provided below or appended.
 AFFIDAVIT OR OTHER EVIDENCE
 8.   D A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
9. D The affidavit or other evidence filed after final action, but before or on the date of filing a Notice of Appeal will not be entered because
          applicant failed to provide a showing of good and sufficient reasons why the affidavit or other evidence is necessary and was not earlier
          presented. See 37 CFR 1.116(e).
 1O. D The affidavit or other evidence filed after the date of filing the Notice of Appeal, but prior to the date of filing a brief, will not be entered
          because the affidavit or other evidence failed to overcome g!! rejections under appeal and/or appellant fails to provide a showing of good and
          sufficient reasons why it is necessary and was not earlier presented. See 37 CFR 41.33(d)(1 ).
 11. D The affidavit or other evidence is entered. An explanation of the status of the claims after entry is below or attached.
 REQUEST FOR RECONSIDERATION/OTHER
 12. 1:8:1 The request for reconsideration has been considered but does NOT place the application in condition for allowance because:
            See Continuation Sheet.
 13. D Note the attached Information Disclosure Statement(s). (PTO/SB/08) Paper No(s). _ _
 14. 1:8:1 Other: PTOL-2323 form attached.
STATUS OF CLAIMS
 15. The status of the claim(s) is (or will be) as follows:
     Claim(s) allowed:
     Claim(s) objected to:
     Claim(s) rejected: 23,25-28,30,32-35,37 and 39-42.
    Claim(s) withdrawn from consideration:

                                                                                 /YUK TING CHOI/
                                                                            I Primary Examiner, Art Unit 2164
U.S. Patent and Trademark Office
PTOL-303 (Rev. 08·2013)                         Advisory Action Before the Filing of an Appeal Brief                                 Part of Paper No. 20160211
                    Case 6:21-cv-00147-ADA Document 15-9 Filed 04/22/21 Page 183 of 201
Continuation Sheet (PTOL-303)                                                                               Application No. 14/059, 192




   Continuation of 12. does NOT place the application in condition for allowance because: This office action is in response to the After Final
  Consideration Pilot request filed on 2/09/2016. Applicant's request for entry into AFCP 2.0 is acknowledged, but is denied because the
  response cannot be reviewed and a search conducted in the limited amount of time authorized for this pilot program. Therefore, the
  response is being reviewed under pre-pilot practice. In response to the last Office Action mailed on 12/09/2015, Claims 23, 25-28, 30, 32-
  35, 37 and 39-42 are stand rejected.      The amended features such as "deterine that the first user expressed a negative preference
  indication regarding a second potential match of the set of potential matchesa t least by determining that the first user performed a second
  sipping gesture ... determine to prevent communication between the first user and the third user in presponse to determining that both the
  first user has expressed the positive preference indication regarding the second user and the second user has expressed the postive
  preference indication regarding the first user" require further consieridation and an updated search has to be conducted.




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                                                                             Application No.                      Applicant(s)

                               AFCP 2.0                                      14/059, 192                          RAD ET AL.
                                                                             Examiner                             Art Unit
                               Decision
                                                                             YUK TING CHOI                        2164


This is in response to the After Final Consideration Pilot request filed 09 February 2016.

1.    Improper Request - The AFCP 2.0 request is improper for the following reason(s) and the after final amendment submitted with
      the request will be treated under pre-pilot procedure.
                                   D An AFCP 2.0 request form PTO/SB/434 (or equivalent document) was not submitted.
                                   D A non-broadening amendment to at least one independent claim was not submitted.
                                   D A proper AFCP 2.0 request was submitted in response to the most recent final rejection.
                                   D Other:
2.    Proper Request

            A. After final amendment submitted with the request will not be treated under AFCP 2.0.
                   The after final amendment cannot be reviewed and a search conducted within the guidelines of the pilot program.
                               [8l The after final amendment will be treated under pre-pilot procedure.

            B. Updated search and/or completed additional consideration.
                  The examiner performed an updated search and/or completed additional consideration of the after final amendment
                  within the time authorized for the pilot program. The result(s) of the updated search and/or completed additional
                  consideration are:
                                   D 1. All of the rejections in the most recent final Office action are overcome and a Notice of Allowance is issued
                                        herewith.
                                   D 2. The after final amendment would not overcome all of the rejections in the most recent final Office action.
                                        See attached interview summary for further details.
                                   D 3. The after final amendment was reviewed, and it raises a new issue(s). See attached interview summary for
                                        further details.
                               D 4. The after final amendment raises new issues, but would overcome all of the rejections in the most recent
                                        final Office action. A decision on determining allowability could not be made within the guidelines of the
                                        pilot. See attached interview summary for further details, including any newly discovered prior art.
                                   D 5. Other:

                                    Examiner Note: Please attach an interview summary when necessary as described above.




U.S. Patent and Trademark Office
PTOL-2323 (Rev. 10·14)                                                   AFCP 2.0 Decision                                   Part of Paper No. 20160211
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                                        DO NOT ENTER: /C.C./
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            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:         Sean Rad et al.
Serial No.:                   14/059, 192
Filing Date:                  October 21, 2013
Group Art Unit:               2164
Examiner:                     Yuk Ting Choi
Confirmation No.:             1044
Title:                        MATCHING PROCESS SYSTEM AND METHOD



MAIL STOP: AF
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




                  Response to Office Action Pursuant to 37 C. F. R. § 1.116

          In response to the Office Action dated December 9, 2015 ("'Office Action"),
Applicants respectfully request the Examiner to reconsider the rejections of the claims in
view of the following amendments and remarks.
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             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:         Sean Rad et al.
Serial No.:                   14/059,192
Filing Date:                  October 21, 2013
Group Art Unit:               2164
Examiner:                     Yuk Ting Choi
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Title:                        MATCHING PROCESS SYSTEM AND METHOD



MAIL STOP: AF
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




                  Response to Office Action Pursuant to 37 C. F. R. § 1.116

          In response to the Office Action dated December 9, 2015 ("Office Action"),
Applicants respectfully request the Examiner to reconsider the rejections of the claims in
view of the following amendments and remarks.
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In the Claims:

        1-22.    (Canceled)


        23.      (Currently Amended) A computer implemented method of profile matching,
comprising:
        electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
        determining a set of potential matches for the first user in response to receiving the
first request;
        causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
        determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
        in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
        determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
        determining to enable communication between the first user and the second user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
        in response to determining to enal;lle communication between the first user and the
second user, causing the graphical user interface to display to the first user both the graphical
representation of the first potential match,;. and a text area, the text area eonfigured to
reeeiYe text in:putted by the first user to send to the seeond user; and
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       wheFein the fiFst useF is identified using a fiFst seeial netweFking f)latfeFm and
the seeend useF is identified using a seeend seeial eetw0Fking f)latfeFm that is diffeFent
than the fiFst seeial netweFking f)latfeFm.
       determining that the first user expressed a negative preference indication
regarding a second potential match of the set of potential matches at least by
determining that the first user performed a second swiping gesture associated with a
graphical representation of the second potential match on the graphical user interface,
the second swiping gesture different than the first swiping gesture, the second potential
match corresponding to a third user;
       determining to prevent communication between the first user and the third user
in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
       determining that the first user expressed a positive preference indication
regarding a third potential match of the set of potential matches at least by determining
that the first user performed the first swiping gesture associated with a graphical
representation of the third potential match on the graphical user interface, the third
potential match corresponding to a fourth user; and
        determining to pt'event communication between the first user and the fourth
user in response to determining that the fourth user has expressed a negative preference
indication regarding the first user.


       24.      (Canceled)


        25.     (Previously Presented) The method of Claim 23, further comprising:
       in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user,. the graphical notification comprising a user
interface control enabling the text area to be presented to the first user.
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        26.    (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


        27.    (Canceled)


        28.    (Canceled)


        29.    (Canceled)
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        30.     (Currently     Amended) A         non-transitory   computer-readable    medium
comprising instructions that, when executed by a processor, are configured to:
       electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
       determine a set of potential matches for the first user in response to receiving the first
request;
        cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
        determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
       in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
        determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
        determine to enable communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
        in response to the determination to enable communication between the first user and
the second user, cause the graphical user interface to display to the first user both the
graphical representation of the first potential match,;, and a te:xt area, the te:xt area
eonfigured to reeeh'e te:xt inputted by the first useF to seed to the seeond user; and
       wherein the first user is identified using a first soeial networking platfoFm and
the seeond useF is identified using a seeoed soeial networking platfoFm that is diff'eFeet
thae the fiFst soeial netwoFking platfoFm.
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        determine that the first user expressed a negative preference indication
regarding a second potential match of the set of potential matches at least by
determining that the first user performed a second swiping gesture associated with a
graphical representation of the second potential match on the graphical user interface,
the second swiping gesture different than the first swiping gesture, the second potential
match corresponding to a third user;
        determine to prevent communication between the first user and the third user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
        determine that the first user expressed a positive preference indication regarding
a third potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation
of the third potential match on the graphical user interface, the third potential match
corresponding to a fourth user; and
        determine to prevent communication between the first user and the fourth user
in response to determining that the fourth user has expressed a negative preference
indication regarding the first user.


        31.     (Canceled)


        32.     (Previously Presented) The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the; second user, the graphical notification comprising
a user interface control enabling the text area to be presented to the first user.
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        33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


        34.    (Canceled)


        35.    (Canceled)


        36.    (Canceled)
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        37.     (Currently Amended) A system for profile matching, comprising:
        an interface operable to:
                electronically receive a first request for matching, the first request
electronically submitted by a first user using a first electronic device; and
        a processor coupled to the interface and operable to:
                determine a set of potential matches for the first user in response to receiving
the first request;
                cause the interface to display a graphical representation of a first potential
match of the set of potential matches to the first user on a graphical user interface of the first
electronic device, the first potential match corresponding to a second user;
                determine that the interface has received a positive preference indication from
the first user regarding the first potential match at least by determining that the first user
performed a first swiping gesture associated with the graphical representation of the first
potential match on the graphical user interface;
                automatically cause the interface to remove the presentation of the first
potential match from the graphical user interface in response to detecting the gesture and
cause the interface to present, on the graphical user interface, a second potential match of the
set of potential matches to the first user;
                determine that the second !J-Ser has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
                determine to enable communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
                in response to the determination to enable communication between the first
user and the second user, cause the graphical user interface to display to the first user both the
graphical representation of the first potential match.i and a text area, the text area
eonfigured to reeei-ve text inputted by the first useF to send to the seeond useF; and
        wheFein the fiFst user is identified using a first soeial netwoFking platfeFm and
the seeond user is identified using a seeond soeial networking platfoFm that is different
than the first soeial networking platfeFm.
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                determine that the first user expressed a negative preference indication
regarding a second potential match of the set of potential matches at least by
determining that the first user performed a second swiping gesture associated with a
graphical representation of the second potential match on the graphical user interface,
the second swiping gesture different than the first swiping gesture, the second potential
match corresponding to a third user;
                determine to prevent communication between the first user and the third
user in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user;
                determine that the first user expressed a positive preference indication
regarding a third potential match of the set of potential matches at least by determining
that the first user performed the first swiping gesture associated with a graphical
representation of the third potential match on the graphical user interface, the third
potential match corresponding to a fourth user; and
                determine to prevent communication between the first user and the
fourth user in response to determining that the fourth user has expressed a negative
preference indication regarding the first user.




        38.     (Canceled)


        39.     (Previously Presented) The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling the text area to be presented to the first user.
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       40.     (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


       41.     (Canceled)


       42.     (Canceled)


       43.     (Canceled)
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                                         REMARKS

       This Application has been carefully reviewed in light of the Office Action. Claims
23, 25-28, 30, 32-35, 37 and 39-42 are pending and stand rejected. Applicants amend Claims
23, 30, and 37, and cancel Claims 27, 28, 34, 35, 41, and 42. Applicants respectfully request
reconsideration and allowance of all pending claims.


Section 102 and 103 Rejections
       The Examiner rejects Claims 23, 25, 26, 28, 30, 32, 33, 35, 37 and 39-41 under pre-
AIA 35 U.S.C. § 102(e) as allegedly being anticipated by U.S. Patent Publication No.
2014/0040368 Al by Janssens ("Janssens").        The Examiner rejects Claims 27, 34 and 42
under pre-AIA 35 U.S.C. § 103(a) as allegedly being unpatentable over Janssens and in view
of U.S. Patent Publication No. 2011/0087974 Al by Kulas ("Kulas").                 Applicants
respectfully traverse these rejections for the reasons discussed below.
       The cited portions of the proposed Janssens-Kulas combination do not disclose, teach,
or suggest all of the limitations of amended Claim 23. For example, neither the cited portions
Janssens nor Kulas disclose the particular manner of expressing preferences and enabling and
disabling communication as recited in the following limitations of amended Claim 23:
           •   determining to enable communication between the first user and the second
               user in response to determining that both the first user has expressed the
               positive preference indication regarding the second user and the second user
               has expressed the positive preference indication regarding the first user;
           •   determining that the first user expressed a negative preference indication
               regarding a second potential match of the set of potential matches at least by
               determining that the first user performed a second swiping gesture associated
               with a graphical representation of the second potential match on the graphical
               user interface, the second swiping gesture different than the first swiping
               gesture, the second potential match corresponding to a third user;
           •   determining to prevent communication between the first user and the third
               user in response to determining that both the first user has expressed the
               positive preference indication regarding the second user and the second user
               has expressed the positive preference indication regarding the first user;
           •   determining that the first user expressed a positive preference indication
               regarding a third potential match of the set of potential matches at least by
               determining that the first user performed the first swiping gesture associated
               with a graphical representation of the third potential match on the graphical
               user interface, the third potential match corresponding to a fourth user; and
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           •   determining to prevent communication between the first user and the fourth
               user in response to determining that the fourth user has expressed a negative
               preference indication regarding the first user.

       Janssens discloses a social interaction system that includes a way for a user to find
people of interest.   Janssens at ii 0004.     A card-feed pane displays "cards," which may
display profiles of users. Id. at ii 0046. A left (backward) arrow and right (forward) enable
the user to view other cards within the card-feed.       Id. at ii 0047.   Additionally, clicking,
mouse dragging, hovering, swiping, and gesturing, may indicate to the system to display a
new card. Id. The card-feed also includes a "like" button that records an indication that the
current user is interested in the user whose card is being displayed. Id. at ii 0052.
       In rejecting a previous version of Claim 23, the Office Action relies on Janssens at
paragraphs 64 and 95 as allegedly disclosing enabling communication between the first user
and the second user in response to determining that the second user has expressed approval
for the first user. The cited paragraphs, however, merely disclose updating a user's contact
list or chat list. For example, paragraph 64 discloses that when a user links with another user
(e.g., where both users indicated they liked the other user), a small image (e.g., a thumbnail
picture) of the linked user previously or newly presented in the chat list or elsewhere may be
highlighted or otherwise identified on the user interface (e.g., relative to images of other users
in the chat list that are not a link). Thus, upon forming a link the user's chat list images are
updated.   There is no disclosure in paragraph 64 of Janssens of enabling and disabling
communication in the manner claimed. In fact, as shown above, Janssens teaches away from
the claim limitations identified above because it discloses that users exist in the chat list (and
communicate with each other) before they are linked.          Paragraph 95 of Janssens merely
discloses that a contact may be automatically added to a given user's contact list when two
users are linked and suggests that users could communicate before being linked.
       Other portions of Janssens cited by the Examiner are similarly deficient. Paragraphs
52-53 of Janssens suggests that users can freely communicate unless they are prevented once
a user requests.   This teaches away from the claimed manner of enabling and disabling
communication as users are prevented from communicating until the conditions specified in
the claim are met.      See also id at ii 5.     Paragraph 56 of Janssens, which addresses
communication in the system, fails to disclose the claimed manner of enabling and disabling
communication. Rather, consistent with the teachings of Janssens, it merely discloses users
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setting preferences but otherwise open communication between users of the system.
Paragraph 178 addresses a "speed dating" situation where users who have expressed no
preference for other users are forced to chat with another for a specified period of time. This
again teaches away from the claimed manner of enabling and disabling communication which
require a particular set of factors to allow for communication between users.
       Kulas discloses controls in a graphical user interface where a user's touch or swipe of
the control indicates the user's state of mind. Kulas at if 0005. The cited portions of Kulas
do not address when communication is allowed between users. As such, the cited portions of
Kuals do not remedy the deficiencies of Janssens.
       For at least these reasons, the proposed Janssens-Kulas combination at least fails to
disclose, teach or suggest the above cited element of Claim 23.           Thus, the proposed
combination fails to disclose, teach or suggest each element of independent Claim 23.
Accordingly, Claim 23 and each of its dependent claims are in condition for allowance.
       For analogous reasons, Applicants respectfully submit that Claim 30 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn.       In particular, Claim 30 recites a non-transitory computer readable medium
comprising instructions that, when executed by a processor, are configured to in part:
             •   determine to enable communication between the first user and the second user
                 in response to the determination that both the first user has expressed the
                 positive preference indication regarding the second user and the second user
                 has expressed the positive preference indication regarding the first user;
             •   determine that the first user expressed a negative preference indication
                 regarding a second potential match of the set of potential matches at least by
                 determining that the first user performed a second swiping gesture associated
                 with a graphical representation of the second potential match on the graphical
                 user interface, the second swiping gesture different than the first swiping
                 gesture, the second potential match corresponding to a third user;
             •   determine to prevent communication between the first user and the third user
                 in response to determining that both the first user has expressed the positive
                 preference indication regarding the second user and the second user has
                 expressed the positive preference indication regarding the first user;
             •   determine that the first user expressed a positive preference indication
                 regarding a third potential match of the set of potential matches at least by
                 determining that the first user performed the first swiping gesture associated
                 with a graphical representation of the third potential match on the graphical
                 user interface, the third potential match corresponding to a fourth user; and
             •   determine to prevent communication between the first user and the fourth user
                 in response to determining that the fourth user has expressed a negative
                 preference indication regarding the first user.
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These elements are not shown by Janssens or Kulas for reasons analogous to those discussed
above regarding Claim 23. Thus, for at least the reasons discussed with respect to Claim 23,
Applicants respectfully request that the rejections of Claim 30 and its dependent claims be
withdrawn.
        For analogous reasons, Applicants respectfully submit that Claim 37 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn. In particular, Claim 37 recites a system for profile matching, comprising in part a
processor operable to:
   •    determine to enable communication between the first user and the second user in
        response to the determination that both the first user has expressed the positive
        preference indication regarding the second user and the second user has expressed the
        positive preference indication regarding the first user;
   •    determine that the first user expressed a negative preference indication regarding a
        second potential match of the set of potential matches at least by determining that the
        first user performed a second swiping gesture associated with a graphical
        representation of the second potential match on the graphical user interface, the
        second swiping gesture different than the first swiping gesture, the second potential
        match corresponding to a third user;
   •    determine to prevent communication between the first user and the third user in
        response to determining that both the first user has expressed the positive preference
        indication regarding the second user and the second user has expressed the positive
        preference indication regarding the first user;
   •    determine that the first user expressed a positive preference indication regarding a
        third potential match of the set of potential matches at least by determining that the
        first user performed the first swiping gesture associated with a graphical
        representation of the third potential match on the graphical user interface, the third
        potential match corresponding to a fourth user; and
   •    determine to prevent communication between the first user and the fourth user in
        response to determining that the fourth user has expressed a negative preference
        indication regarding the first user.
These elements are not shown by Janssens or Kulas, for reasons analogous to those discussed
above regarding Claim 23. Thus, for at least the reasons discussed with respect to Claim 23,
Applicants respectfully request that the rejections of Claim 37 and its dependent claims be
withdrawn.


No Waiver

        Applicants' arguments are made without prejudice or disclaimer. By not responding
to additional statements made by the Examiner, Applicants do not acquiesce to the additional
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statements. The distinctions between the applied references and the claims are provided as
examples only and are sufficient to overcome the rejections. Applicants reserve the right to
discuss additional or other distinctions in a later response or on appeal, if appropriate.
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                                      CONCLUSION

       Applicants have made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicants respectfully
request reconsideration and full allowance of all pending claims.
       If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicants, at the Examiner's convenience at (214) 953-6737.
       Although Applicants believe no fee is due, the Commissioner is authorized to charge
any necessary fees or credit any overpayment to Deposit Account No. 02-0384 of Baker
Botts L.L.P.



                                             Respectfully submitted,

                                             Baker Botts L.L.P.
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Date: February 9, 2016

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